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                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION                                                              ENTERED
                                                                                                                         06/25/2020
          In re:                                                   §
          Watson Valve Services, Inc.,                             §
                 Debtor.                                           §
                                                                   §                      Case No. 20-30968
                                                                   §                         Chapter 11
                                                                   §

                    ORDER GRANTING CHAPTER 11 TRUSTEE’S EXPEDITED MOTION
                     FOR AN ORDER AUTHORIZING THE SALE FREE AND CLEAR OF
                         LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES TO
                            MOGAS INDUSTRIES, INC. OF CERTAIN ASSETS

                   Upon consideration of the expedited motion filed by Robert Ogle, in his capacity as

        duly appointed Chapter 11 Trustee (“Trustee”) over the bankruptcy estate (“Estate”) of

        Watson Valve Services, Inc. (the “Debtor”) seeking the entry of an order authorizing the sale

        free and clear of liens, claims (including setoff and recoupment), interests, and encumbrances to

        MOGAS Industries, Inc. (the “Buyer”) of certain assets described in the Agreement (the

        “Motion”), pursuant to sections 105(a), 363 and 365 of the Bankruptcy Code1, Bankruptcy Rules

        2002, 6004 and 6006, and the Local Rules; and the Court having jurisdiction to consider the Motion

        and the relief requested therein pursuant to 28 U.S.C. § 1334; and a hearing to consider the

        Motion and the transaction contemplated therein (the “Hearing”) having been conducted on

        June 25, 2020; and the Court having considered any objections to the Motion and the arguments

        of counsel in support, and in opposition to (if any), the Motion; and due and proper notice of the

        Motion and the Hearing having been provided to all parties entitled thereto; and the Court having

        determined that the relief sought in the Motion and the Agreement represents the sound exercise

        of the Trustee’s business judgment and is in the best interests of the Estate and all parties-in-


        1
          Capitalized terms used but not defined herein shall have the meanings ascribed to them as set forth in the Motion
        and the Agreement.

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        interest; and upon the Motion and all of the proceedings had before the Court; and good and

        sufficient cause appearing therefore;

                   IT IS HEREBY FOUND AND DETERMINED:

                                                       General

                   A.     The Court has jurisdiction to consider the Motion and the relief requested therein

        pursuant to 28 U.S.C. §1334. The Motion is a core proceeding under 28 U.S.C. § 157(b)(2)(A),

        (N) and (O). Venue is proper in this Court under 28 U.S.C. §§1408 and 1409.

                   B.     The statutory predicates for the relief sought in the Motion are sections 105(a),

        363(b), (f) and (m) and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006 and

        9014.

                   C.     Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), the Court finds that there

        is no just reason for delay in the implementation of this Order and expressly directs entry of

        judgment as set forth herein.

                   D.     The Trustee has satisfied all applicable disclosure requirements in the Bankruptcy

        Rules and the Local Rules.

                   E.     As evidenced by the certificate(s) of service filed with the Court, and based on the

        representations of counsel at the Hearing, (i) proper, timely, adequate, and sufficient notice of the

        Motion, the Agreement, and the transactions contemplated therein and the Hearing has been

        provided in accordance with sections 105, 363 and 365 of the Bankruptcy Code and Bankruptcy

        Rules 2002(a), 6004 and 6006; (ii) such notice was good and sufficient and appropriate under the

        particular circumstances; and (iii) no other or further notice of the Motion, the transactions

        contemplated therein or the Hearing is required.




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                   F.     A reasonable opportunity to object or be heard with respect to the Motion and the

        relief requested therein has been afforded to all interested persons and entities, including, but not

        limited to (i) the Office of the United States Trustee; (ii) counsel to the proposed Buyer; (iii)

        counsel to JB Valve; (iv) all known persons holding a lien, claim, encumbrance or other interest

        in, to or against any of the Acquired Assets; (v) all applicable federal, state and local taxing

        authorities; (vi) all applicable federal, state and local governmental bodies; (vii) counsel for Texas

        Capital Bank; (viii) all entities who have filed a notice of appearance and request for service of

        papers in the Debtor’s bankruptcy case pursuant to Bankruptcy Rule 2002; and (ix) all parties in

        interest to the relief requested in the Motion.

                                                The Bankruptcy Case

                   G.     On February 6, 2020 (the “Petition Date”), the Debtor filed a voluntary petition for

        relief under chapter 11 of title 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq.

        (the “Bankruptcy Code”).

                   H.     On June 4, 2020, the Court entered its order approving the appointment of the

        Trustee as the Chapter 11 Trustee in this Bankruptcy Case.

                   I.     The Acquired Assets are property of the Debtor’s estate and title thereto is vested

        in the Debtor’s estate.

                                      The Sale of the Acquired Assets to Buyer

                   J.     The transactions effectuating, and the terms and conditions governing, the sale of

        the Acquired Assets to the Buyer are embodied in the Agreement, which is in substantially the

        form attached hereto as Exhibit A. A description of the Acquired Assets is contained in the

        attached Agreement.




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                   K.     The Agreement contemplates that the sale of the Acquired Assets shall be free and

        clear of all liens, claims, interests, and other encumbrances within the meaning of section 363(f)

        of the Bankruptcy Code (collectively, “Liens”); provided, however, that all Liens (in the same

        priority as exists pre-closing) will attach to the proceeds at Closing (as defined in the Agreement)

        upon the transfer to Seller when all conditions precedent to Closing have been fulfilled.

                   L.     The Buyer’s obligation to consummate the transactions contemplated in the

        Agreement is subject to the specific conditions outlined therein, including Court approval.

                   M.     The Agreement was negotiated, proposed, and entered into by and between the

        Buyer and the Trustee on behalf of the Estate without collusion, in good faith, and from arm’s

        length bargaining positions. Neither the Trustee nor the Buyer has engaged in any conduct that

        would cause or permit the application of section 363(n) of the Bankruptcy Code to the sale of the

        Acquired Assets, including having the Agreement voided.

                   N.     The Buyer is a good faith purchaser in accordance with section 363(m) of the

        Bankruptcy Code and, as such, is entitled to all of the protections afforded thereby. Absent a stay

        of the effectiveness of this Order, if any, the Buyer will be acting in good faith within the meaning

        of section 363(m) of the Bankruptcy Code in closing the transactions in accordance with the

        Agreement. The Buyer shall not be deemed to be a successor in interest to the Debtor, the Trustee,

        the Estate, the reorganized debtor, or any assignee or successor-in-interest to any of such parties,

        and the Buyer shall not have any successor liability as to any of the Acquired Assets.

        Notwithstanding the foregoing, the Court makes no findings with respect to the Buyer’s prior

        attempts to purchase these assets. This Order does not preclude any determination that the prior

        attempts to purchase the assets were in violation of the law; nor does it preclude the United

        States from any action that it may take with respect to any such prior attempts to purchase the

        assets.

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                   O.     The terms and conditions of the Agreement: (i) are fair and reasonable, (ii) valid,

        binding and enforceable, (iii) constitute the highest and best offers for the Acquired Assets,

      (iv) will provide a greater recovery for the Estate’s creditors than would be provided by any other

      practical available alternative, and (v) constitute reasonably equivalent value and fair consideration

      for the Acquired Assets.

                   P.     The transactions contemplated by the Agreement will, upon consummation thereof

        (the “Closing”), (i) be legal, valid, and effective transfers of the Acquired Assets to the Buyer with

        no further action required on the part of the Trustee and (ii) vest the Buyer with good and

        indefeasible title to the Acquired Assets free and clear of all Liens, claims (including setoff and

        recoupment), interests and encumbrances within the meaning of section 363(f) of the Bankruptcy

        Code.

                   Q.     The Buyer would not have entered into the Agreement and will not consummate

        the transactions described in the Agreement (thus adversely affecting the Estate and its creditors)

        if the sale of the Acquired Assets is not free and clear of all Liens, claims (including setoff and

        recoupment), interests and encumbrances.

                   R.     The relief sought in the Motion is in the best interest of the Estate, and all parties

        in interest thereto.

                   S.     The Trustee has demonstrated (i) good, sufficient, and sound business purpose and

        justification for the transactions contemplated in the Agreement, including the necessity for selling

        the Acquired Assets for the Purchase Price as the highest and best offer and without a formal

        auction process and (ii) compelling circumstances for the sale pursuant to section 363(b) of the

        Bankruptcy Code.

                   T.     The Agreement was not entered into for the purpose of hindering, delaying, or

        defrauding the Estate’s creditors, and the parties are not entering into the transactions contemplated
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        by the Agreement fraudulently; provided, the Court makes no findings with respect to the intent

        of any parties with respect to a prior attempted purchase of the assets.

                   U.     Based on the Motion and evidence proffered or adduced at the Hearing, (i) the

        Buyer has submitted the highest and best possible offers for the Acquired Assets; (ii) the

        consideration provided for in the Agreement provides fair and reasonable consideration for such

        Acquired Assets under all the circumstances; (iii) the Trustee, after consulting with his advisors,

        does not believe that any other party will make an offer for the Acquired Assets for greater

        economic value to the Estate than the offer of the Buyer currently under consideration in the

        Agreement; and (iv) the consideration to be paid to the Estate under the Agreement, constitutes

        reasonably equivalent value and fair consideration under the Bankruptcy Code.

                   V.     The sale must be approved and consummated promptly in order to maximize the

        value of the Estate.

                   W.     Upon entry of this Order, the Trustee has all the corporate or organizational power

        and authority necessary to consummate the transactions contemplated by the Agreement.

                   X.     Except as otherwise provided in this Order, no consents or approvals are required

        for the Trustee to consummate the transactions contemplated by the Agreement.

                   Y.     The Trustee has demonstrated good, sound and sufficient business purpose and

        justification, and it is a reasonable exercise of his business judgment, to sell the Acquired Assets

        on the terms and conditions set forth in the Agreement and consummate all transactions

        contemplated by the Agreement, and the sale of the Acquired Assets is in the best interests of the

        Estate and its creditors.

                   Z.     The Trustee may consummate the transactions and transfer the Acquired Assets

        free and clear of all Liens, claims (including setoff and recoupment), interests, and encumbrances

        of any kind or nature whatsoever, because one or more of the standards set forth in section

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        363(f)(1)-(5) of the Bankruptcy Code has been satisfied. All parties with Liens of any kind or

        nature whatsoever in or on the Acquired Assets, except as expressly permitted by the Agreement,

        who did not object to the Motion and the relief requested therein, or who withdrew their objections

        to the transactions, are deemed to have consented pursuant to sections 363(f)(2) of the Bankruptcy

        Code. All parties with Liens of any kind or nature whatsoever in the Acquired Assets, who did

        object to the Motion and the relief requested therein fall within one or more of the other subsections

        of section 363(f) of the Bankruptcy Code and are adequately protected by having their Liens attach

        to the net proceeds of the transactions with the same validity, enforceability, priority, force and

        effect that they now have as against the Acquired Assets, subject to the rights, claims, defenses,

        and objections, if any, of all parties in interest with respect to such Liens.

                   AA. Except as otherwise provided in the Agreement, consummation of the transactions

        will not subject the Buyer to any debts, liabilities, obligations, commitments, responsibilities or

        claims of any kind or nature whatsoever, whether known or unknown, contingent or otherwise,

        existing as of the date hereof or hereafter arising, of or against the Debtor, the Trustee, any affiliate

        of the Debtor, any affiliate of the Trustee, or any other person by reason of such transfers and

        assignments, including, without limitation, based on any theory of antitrust, successor or

        transferee liability or setoff and recoupment.

                   BB. Assignment Procedures, as in the Motion, are fair and reasonable and supported by

        the sound business judgment of the Trustee. The Assignment Procedures affords all parties in

        interest to the Assigned Contracts a reasonable and fair opportunity to assert any and all rights

        thereto. No other or further notice, opportunity or procedures are required to consummate the

        transactions contemplated by the Agreement, including, without limitation, the transfer of the

        Acquired Assets to the Buyer and the assignment of the Assigned Contracts to the Buyer – both of



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        which shall be free and clear of all Liens, claims (including setoff and recoupment), interests and

        encumbrances of any kind.

                   ACCORDINGLY, THE COURT HEREBY ORDERS THAT:

                                                 General Provisions

                   1.     The findings of fact entered above and the conclusions of law stated herein shall

        constitute the Court's findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052,

        made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that any

        finding of fact shall later be determined to be a conclusion of law, it shall be so deemed, and to the

        extent that any conclusion of law shall later be determined to be a finding of fact, it shall he so

        deemed.

                   2.     Omitted.

                   3.     All objections to the Motion or the relief requested therein that have not been

        withdrawn, waived, or settled, and all reservations of rights included therein, are overruled. Those

        parties who did not object, or who withdrew their objections to the Motion prior to the Hearing,

        are deemed to have consented to section 363(f)(2) of the Bankruptcy Code.

                           Approval of the Agreement and Transfer of Acquired Assets

                   4.     Omitted.

                   5.     The sale of the Acquired Assets and the terms and conditions contemplated by the

        Agreement, including, without limitation, the closing of the transactions contemplated by the

        Agreement, is hereby approved pursuant to sections 105(a), and 363(b) and (f) of the Bankruptcy

        Code.

                   6.     The Assignment Procedures, as detailed in the Motion, are approved and ratified,

        as applicable. The Trustee is authorized and directed to proceed accordingly with the Assignment

        Procedures, as detailed in the Motion.
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                   7.     The Trustee is authorized and directed, pursuant to sections 105(a), 363(b) and 365,

        of the Bankruptcy Code, to perform all of its obligations pursuant to the Agreement and to execute

        such other documents and take such other actions as are necessary to effectuate the transactions

        contemplated by the Agreement.

                   8.     The sale of the Acquired Assets, pursuant to this Order and the Agreement, will

        vest the Buyer with good and indefeasible title to the Acquired Assets and will be a legal, valid

        and effective transfer of the Acquired Assets (including, without limitation, the Assigned

        Contracts) free and clear of all Liens, claims (including setoff and recoupment), interests and

        encumbrances of any kind.

                   9.     Pursuant to sections 105(a), 363(f) and 365 of the Bankruptcy Code, upon the

        Closing, the Acquired Assets (including the Assigned Contracts) shall be sold, assumed,

        transferred, assigned (as applicable) or otherwise conveyed to Buyer free and clear of all Liens,

        claims (including setoff and recoupment), interests and encumbrances of any kind, with all such

        Liens to attach at Closing to the proceeds of sale of the Acquired Assets in the order of their

        priority, and with the same validity, priority, force and effect which they now have as against the

        Acquired Assets, subject to the rights, claims, defenses, and objections, if any, of the Debtor and

        all parties in interest with respect to such Liens.

                   10.    All persons or entities holding Liens, claims (including setoff and recoupment),

        interests or encumbrances of any kind in, to or against the Acquired Assets shall be, and they

        hereby are, forever barred from asserting such Liens, claims (including setoff and recoupment),




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        interests or encumbrances of any kind against Buyer, its successors and assigns or such Acquired

        Assets after Closing.

                    11.   No person shall take any action to prevent, interfere with or otherwise enjoin

        consummation of the transactions contemplated by the Agreement.

                   Assumption and Assignment of Assigned Contracts and Assignment Procedures

                    12.   The assumption and assignment of the Assigned Contracts are effective

        immediately upon entry of this order subject to an Assigned Contract’s counterparty’s objection

        to assumption or assignment to be filed before July 2, 2020. If a party objects before July 2, 2020,

        the Court will conduct a hearing on the issues raised by the objection party, but only specifically

        on the limited issue of assumption, assignment, and Cure Costs. If a party does not object,

        assumption and assignment will be final and effective as of the entry of this Order and any right

        to objection to be waived.

                    13.   The Assignment Procedures are approved in their entirety and effective

        immediately upon entry of this Order.

                    14.   The Trustee is authorized to assume the Assigned Contracts and assign the

        Assigned Contracts to Buyer in accordance with the terms of the Agreement, the approved

        Assignment Procedures, and pursuant to and in compliance with section 365 of the Bankruptcy

        Code. Upon the entry of this Order and pursuant to the approved Assignment Procedures, the

        Assigned Contracts shall be deemed assumed by the Trustee and assigned to the Buyer free and

        clear of any successor liability, Liens, claims (including setoff and recoupment), interests or

        encumbrances of any kind. Upon entry of this Order and pursuant to the approved Assignment

        Procedures, all contract counterparties to the Assigned Contracts and persons or entities holding

        Liens, claims, interests or encumbrances of any kind in, to or against the Assigned Contracts shall



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        be, and they hereby are, forever barred from asserting such Liens, claims (including setoff and

        recoupment), interests or encumbrances of any kind against Buyer, its successors and assigns or

        such Assigned Contracts after Closing. Notwithstanding anything to the contrary in this Order or

        in the Agreement, any counterparty to an executory contract that did not receive adequate due

        process notice, may object to the assumption and assignment or cure amounts within 14 days of

        actual notice of the intention to assume and assign the contract, with applicable cure amounts if

        any.

                   15.    Notwithstanding anything to the contrary contained in this Order, with respect to

        the Huayou Contract (as defined in the Agreement), Buyer has agreed to and shall credit PT.

        Huayue Nickel Cobalt (“Huayue”) with all payments to the Debtor (including, without limitation,

        the $2.1 million for prepayments made to the Debtor) and deliver those certain severe service ball

        valves, and related technical documentation, services and training under the Huayou Contract on

        a schedule acceptable to Huayue and Buyer and otherwise in accordance with the Huayou Contract

        in exchange for only the remaining payments due under the Huayou Contract.

                   16.    Notwithstanding any provision contained in the Agreement, the Seller shall pay

        Watson Grinding for finished products detailed in invoice nos. 039156, 039157, and 039153 (the

        “Invoices”) between Seller and Watson Grinding out of the Purchase Price in the amount of

        $47,840.00. Upon the delivery of the Purchase Price to the Seller, Seller shall have three (3)

        Business Days to pay Watson Grinding the $47,840.00 amount owed under the Invoices. For the

        avoidance of doubt, nothing contained in this paragraph shall change, amend, or otherwise alter

        the Buyer’s obligation to pay Cure Costs for the applicable Assigned Contracts pursuant to the

        Agreement.

                                             Miscellaneous Provisions

        17.               The sale of the Acquired Assets (including the assumption and assignment of the

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        Assigned Contracts) pursuant to the Agreement qualifies as a “good faith” sale within the meaning

        of section 363(m) of the Bankruptcy Code, and the Buyer is a “good faith” purchaser for the

        purposes of such section. The Buyer shall not have any successor liability to the Debtor, the

        Trustee, the Estate, the Debtor’s creditors, any of their respective successor or assigns, the Acquired

        Assets or in any way related to or arising from the transactions evidenced by the Agreement.

                   18.    If any person or entity that has filed financing statement, mortgages, mechanic's

        liens, lis pendens, or other documents or agreements evidencing Liens, claims, interests or

        encumbrances of any kind against, under, to or in the Acquired Assets shall not have delivered to

        the Trustee prior to the Closing, in proper form for filing and executed by the appropriate parties,

        termination statements, instruments of satisfactions, or releases of all interests or claims that the

        person or entity has with respect to the Acquired Assets, then (a) the Trustee and Buyer are hereby

        authorized to execute and file such statements, instruments, releases and other documents on behalf

        of the person or entity with respect to the Acquired Assets and (b) the Buyer is hereby authorized

        to file, register or otherwise record a certified copy of this Order, which, once filed, registered or

        otherwise recorded, shall constitute conclusive evidence of the release of all Liens in the Acquired

        Assets of any kind or nature.

                   19.    The Agreement and any related agreements, documents or other instruments may

        be modified, amended, or supplemented through a written document signed by the Trustee and

        Buyer in accordance with the terms thereof without further order of the Court; provided, however,

        that any such modification, amendment or supplement is neither material nor changes the

        economic substance of the transactions contemplated hereby.

        20.               In the absence of a stay of the effectiveness of this Order, in the event that the Buyer

        and the Trustee consummate the transactions contemplated by the Agreement at any time after

        entry of this Order, then with respect to the transactions approved and authorized herein, the Buyer,

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        as a purchaser in good faith within the meaning of section 363(m) of the Bankruptcy Code, shall

        be entitled to all of the protections of section 363(m) of the Bankruptcy Code in the event this Order or

        any authorization contained herein is reversed or modified on appeal.

                   21.    The terms of this Order and the Agreement shall be binding on the Trustee, the

        Buyer and the Estate’s creditors and all other parties in interest, and any successors of the Debtor,

        the Trustee, the Estate, the Buyer and the Debtor’s creditors, including any trustee or examiner

        appointed in this bankruptcy case or any subsequent or converted case of the Debtor under chapter

        7 or chapter 11 of the Bankruptcy Code.

                   22.    The failure to include any particular provision of the Agreement in this Order shall

        not diminish or impair the effectiveness of that provision, it being the intent of the Court and the

        Trustee and Buyer that the Agreement is hereby authorized in its entirety.

                   23.    Any conflict between the terms and provisions of this Order and the Agreement

        shall be resolved in favor of this Order.

                   24.    The provisions of Bankruptcy Rules 6004(h) and 6006(d) are hereby waived. This

        Order shall not be stayed for 10 days after its entry but shall be and hereby is effective immediately

        upon entry, and the Trustee and the Buyer are authorized to immediately execute, close, fund, fully

        perform all terms of the Agreement, consummate the transactions documented and contemplated

        by the Agreement, and take any and all actions necessary to implement and give effect to the terms

        of the Agreement upon entry of this Order. Time is of the essence in closing the transactions and

        the parties to the Agreement shall be authorized to close the sales as soon as possible consistent

        with the terms of the Agreement.

                   25.    The Assigned Contracts shall be transferred to and remain in full force and effect

        for the benefit of Buyer in accordance with their terms, notwithstanding any provision in any such

        contract that prohibits, restricts, or conditions such assignment or transfer pursuant to § 365(f) of

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        the Bankruptcy Code. There shall be no accelerations, assignment fees, increases, or any other fees

        charged to Buyer or the Trustee as a result of the assumption and assignment of the Assigned

        Contracts.

                   26.    Nothing in this Order releases, nullifies, precludes or enjoins the enforcement of

        any police or regulatory liability to a governmental unit arising from or related to the enforcement

        of any applicable police or regulatory law or regulation (including but not limited to those of the

        (Texas Commission on Environmental Quality and the Texas Railroad Commission) to which any

        entity would be subject to as the owner or operator of property from and after the date of the closing

        of the Sale. Nothing in this Order authorizes the transfer or assignment of any governmental (a)

        license, (b) permit, (c) registration, (d) authorization or (e) approval, or the discontinuation of any

        obligation thereunder, without compliance with all applicable legal requirements and approvals

        under police and regulatory law.

                   27.    “The ad valorem taxes for tax year 2020 prorated as of the Effective Time

        pertaining to the inventory and personal property shall become the responsibility of the Buyer upon

        the Effective Time. For the avoidance of doubt, the Seller shall be responsible for their portion of

        the ad valorem taxes for tax year 2020 up to the Effective Time, and Buyer shall be responsible

        for the ad valorem taxes for tax year 2020 after the Effective Time. The 2020 ad valorem tax liens

        shall be retained against the Acquired Assets until said Taxes, including any penalties and interest

        that may accrue, are paid in full.”

                   28.    The requirements set forth in Bankruptcy Local Rule 9013-1 and the Complex Case

        Procedures are satisfied by the contents of the Motion.




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                   29.    The failure to include any particular provision of the Agreement in this Order shall

        not diminish or impair the effectiveness of that provision, it being the intent of the Court and the

        Trustee and Buyer that the Agreement is hereby authorized in its entirety.

                   30.    This Court retains exclusive jurisdiction with respect to all matters arising from or

        related to the implementation, interpretation, and enforcement of this Order.


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                           EXHIBIT A
                           (Agreement)
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                                                                   EXECUTION VERSION




                                 ASSET PURCHASE AGREEMENT

                                         BY AND AMONG

                              ROBERT E. OGLE, Chapter 11 Trustee for
                             WATSON VALVE SERVICES, INC., as Seller,

                                               AND

                                MOGAS INDUSTRIES, INC., as Buyer

                                      Dated as of June 19, 2020




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                                      ASSET PURCHASE AGREEMENT

                THIS ASSET PURCHASE AGREEMENT (this “Agreement”), dated as of June 19,
        2020, is entered into by and among Mogas Industries, Inc., a Texas corporation (“Buyer”), and
        Robert Ogle, as Chapter 11 Trustee for the bankruptcy estate of WATSON VALVE SERVICES,
        INC. (“Seller” or the “Debtor”). Seller and Buyer are sometimes referred to collectively herein
        as the “Parties” and individually as a “Party.”

                                                    RECITALS

                WHEREAS, Seller, as trustee, owns and operates a business involving the manufacture,
        service, repair and rebuild of severe service ball valves, as well as related comprehensive valve
        services including, but not limited to, testing, cleaning, installation support and troubleshooting,
        disassembly, analysis, actuation system mounting/installation, and the sale of its own proprietary
        line of valve products (collectively, the “Business”);

               WHEREAS, Seller desires to sell, assign, and transfer to Buyer, and Buyer desires to
        purchase from Seller, certain of its assets, privileges, rights, and interests that are owned, used, or
        held for use by Seller in connection with the Business, all on the terms and subject to the
        conditions described in this Agreement and assume the Assigned Contracts (defined below), and
        Assumed Liabilities (defined below), upon the terms and conditions set forth herein.

              WHEREAS, the Debtor commenced proceedings (Case No. 20-30968) (the
        “Bankruptcy Case”) under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
        Code”) in the United States Bankruptcy Court at the Southern District of Texas (the
        “Bankruptcy Court”) and Watson Grinding and Manufacturing Co. (“Watson Grinding”)
        commenced proceedings (Case No. 20-30967) under Chapter 11 of the Bankruptcy Code in the
        Bankruptcy Court (the foregoing two proceedings, collectively, the “Bankruptcy Cases”);

               WHEREAS, on June 4, 2020, the Bankruptcy Court entered an order appointing Seller as
        Chapter 11 trustee for Debtor vesting the Chapter 11 Trustee with the authority to sell assets of
        the Debtor, among other powers;

                WHEREAS, the Seller and the Buyer desire to implement the purchase and sale and other
        transactions, assumptions, and assignments contemplated hereby pursuant to Sections 105, 363
        and 365 and other applicable provisions of the Bankruptcy Code and pursuant to the Final Sale
        Order (as defined below) to be entered in the Bankruptcy Case;

               WHEREAS, this Agreement is subject to the approval of the Bankruptcy Court and will
        be consummated only under the Final Sale Order to be entered in the Bankruptcy Case.

                NOW, THEREFORE, in reliance upon the recitals above (which are made a part of the
        agreements below) and in consideration of the foregoing and for other good and valuable
        consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to be
        legally bound, the Parties to this Agreement agree as follows:



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                                                   ARTICLE 1.
                      Purchase and Sale of Assets; Assumption of Certain Specified Liabilities

                 1.1    The Acquired Assets. Subject to and in reliance upon the representations,
        warranties, and agreements set forth in this Agreement, and subject to the terms and conditions
        contained in this Agreement and the Final Sale Order, Seller shall grant, convey, sell, assign,
        transfer, and deliver to Buyer on the Closing Date, and Buyer shall purchase on the Closing Date
        all of Seller’s right, title, and interest in the following assets (the “Acquired Assets”), free and
        clear of (x) all covenants, restrictions, liens, security interests, claims, pledges, assignments,
        subleases, options, rights of refusal, charges, leases, licenses, encumbrances and any other
        restriction of any kind or nature (collectively, “Liens”) and (y) free and clear of all Excluded
        Liabilities:

                           (a)    Inventory and Customer-Owned Property.

                                   (i)    Inventories. All inventories (including raw materials, work in
                    progress, and finished goods) and supplies of Seller, including any such items held at the
                    Seller’s places of business including, but not limited to, inventories listed on Schedule
                    1.1(a)(i);

                                   (ii)    Additional Inventory. Seller’s interest in any work in progress
                    inventory currently in the possession of Watson Grinding (the inventories described in
                    Section 1.1(a)(i) and this Section 1.1(a)(ii), collectively, the “Inventory”).

                                    (iii) Customer-Owned Property. All customer-owned property held by
                    Seller in accordance with the Purchase Orders or otherwise, but only to the extent of
                    Seller’s rights thereto (“Customer-Owned Property”) including but not limited to those
                    set forth on Schedule 1.1(a)(ii) attached hereto;

                       (b)    Customer Prepayments. Solely to the extent identified in Schedule 1.1(b),
        prepayments, deposits, advances and the like by customers with respect to sales, services, or
        other transactions as to which delivery or performance has been fully completed as of the
        Closing Date under Final Customer Purchase Orders;

                        (c)    Covered Receivables. Accounts receivable, notes receivable, and related
        rights of payment whether or not the underlying sales, services or other transactions have been
        fully performed (including profits to be earned from work in progress arising from or related to
        ongoing repair orders) as of the Closing Date (the “Covered Receivables”), including, but not
        limited to, the Covered Receivables identified in Schedule 1.1(c).

                                   (i)    Buyer shall be responsible for the collection of any Covered
                    Receivable after the Closing Date.

                       (d)     Prepaid Items; Deposits. All prepaid items and expenses of Seller, and all
        security deposits held by third parties for the benefit of Seller;

                     (e)    Machinery, Equipment, and Other Personal Property. All physical assets,
        machinery (including, without limitation, autoclave agitator blades and/or assemblies for
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        manufacture, repair and coating, equipment, presses, motor vehicles, racking, molds, forms, dies
        and tooling), spare parts, furniture, fixtures, office equipment and supplies, packing materials,
        computer hardware, photocopiers, facsimile machines, and other tangible personal property of
        every kind and description owned, leased (to the extent such lease(s) can be transferred to the
        Buyer), or licensed (to the extent such license(s) can be transferred to the Buyer) by Seller,
        including but not limited to all equipment on Seller’s depreciation schedule and/or asset list (the
        “Equipment”), together with any express or implied warranty by the manufacturers or Seller or
        lessors of any item or component part thereof and all maintenance records and other documents
        relating thereto, including without limitation, the assets listed on Schedule 1.1(e) attached hereto;

                        (f)    Intellectual Property. All of Seller’s rights and goodwill in and to, and all
        rights, claims, and causes of action against any third parties 1, arising from any misappropriation,
        wrongful use, disclosure or any other infringement of intellectual property rights of any kind or
        nature occurring prior to the Closing Date regarding trademarks, service marks, copyrights,
        copyright registrations, patents, patent registrations, trade names, domain names, slogans, logos,
        social-media assets, e-commerce assets, industrial models, methodologies, computer software
        (including but not limited to SOLIDWORKS, Inventor, Autocad, Global Shop, 2 and all software
        licenses), technical information, drawings and designs, customer lists, data associated with the
        Acquired Assets, know-how, show-how, and trade secrets, and other intangible rights, including
        any applications therefor, and licenses with respect thereto, whether or not subject to statutory
        registration or protection, including all of Seller’s rights and goodwill in and to the name
        “Watson Valve” and any derivations thereof, including but not limited to designs, drawings,
        technical specifications, calculations, coating technology, and intellectual property as it relates to
        the coating, laboratory procedures, work instructions, and standards pertaining to and/or used in
        the operation of the Business (collectively, the “Intellectual Property”) as listed on Schedule
        1.1(f);

                       (g)     Permits, Licenses, and Authorizations.        All governmental permits,
        licenses, and authorizations held by Seller, including but not limited to those to be identified by
        Seller on Schedule 1.1(g) (to the extent the same may be transferred to Buyer);

                       (h)     Assigned Contracts and Cure Costs. The Seller’s Contracts consisting of
        the following (collectively, the “Assigned Contracts”):

                                   (i)     Except for the Excluded Purchase Orders, the customer purchase
                    orders of Seller that are outstanding for the purchase of products of Seller and repair
                    services to be performed by Seller on Third Party products (the “Final Customer
                    Purchase Orders”), including but not limited to those Final Customer Purchase Orders
                    listed on Schedule 1.1(h) attached hereto;



        1
          For the avoidance of doubt as to intellectual properties only, “third parties” does include any officer, director, or
        affiliate of Watson Valve. The Seller shall retain any and all rights, claims, and causes of action against any and all
        directors and officers of Watson Valve, save and except for litigation dealing with any and all transfers of
        intellectual properties owned by Watson Valve.
        2
          Inventor, Autocad and Global Shop are licensed under the name Watson Grinding, but the Debtor pays certain
        amounts for use of such licenses.
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                                   (ii)  Final Customer Purchase Orders includes, but is not limited to, that
                    certain Procurement Contract No: MOR-203-009-0 of Severe Service Ball Valve for
                    HUAYOU Indonesian Laterite-Nickel Ore Project between PT. Huayue Nickel Cobalt
                    and Seller, dated April 25, 2019 (the “HUAYOU Contract”).

                                   (iii) Except for the Excluded Purchase Orders, those certain vendor
                    purchase orders of Seller that are outstanding for the purchase of products or services by
                    Seller on the Closing Date as set forth on Schedule 1.1(h)(iii) attached hereto (the “Final
                    Vendor Purchase Orders”). The Final Customer Purchase Orders and Final Vendor
                    Purchase Orders will be referred to as the “Purchase Orders.” The “Excluded
                    Purchase Orders” means those items listed on Schedule 1.2(k).

                                   (iv)   All software licenses and related licenses listed on Schedule 1.1(h).

                        (i)    Files and Records. Copies of all files, records, books of account, general,
        financial, and accounting records, invoices, computer programs, tapes, electronic data (including,
        without limitation, data relating to customers, sales history, inventory, accounts receivable,
        vendors, employees and accounts payable), processing software, all data of every kind or nature
        maintained on computer servers (together with computer backup devices) to which Seller has or
        had access in the ordinary course of business prior to and including the date of this Agreement,
        regardless of whether such computer servers are owned by Seller or Watson Grinding and
        Manufacturing Co., customer, supplier, and vendor lists and records, studies and reports of every
        kind or nature, advertising and sales material, test records, technical drawings, personnel and
        payroll records, correspondence, all other records that pertain directly to or are used in
        connection with the Business including, without limitation, access to and the right of Buyer to
        transfer to any platform designated by Buyer all records relating to the operations of Seller
        maintained on the Global Shop Solutions software platform, inspection and safety records,
        quality systems, all specifications standards and licenses and written procedures of every kind
        and nature. Seller shall have the right to access the foregoing to the extent provided in Section
        6.1 and Section 6.5;

                                   (i)     Notwithstanding anything to the contrary in Section 1.1(i), Buyer
                    understands and agrees that Seller may not have the right to sell or transfer—or make
                    copies of—certain Third-Party software applications or platforms to the Buyer as
                    identified by Seller on Schedule 1.1(h), and that it will be incumbent upon Buyer to
                    separately obtain the right—at its own expense—to obtain and use such applications or
                    platforms.

                        (j)    Guarantees. All guarantees, warranties, indemnities, and similar rights in
        favor of Seller with respect to any of the Acquired Assets;

                       (k)     Access to Steffani Lane Premises and McKinney Premises. Access to the
        work in progress of the Seller located at the premises at 5008 Steffani Lane, Houston, Texas (the
        “Steffani Lane Premises”) and the ability of Buyer to complete such work in progress at the
        Steffani Lane Premises for a period of ninety (90) days after the Closing and access to the
        premises at 2910 McKinney, Houston, Texas up to and including 90 days from the date of the
        sale described herein; and

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                           (l)    Goodwill. All of Seller’s goodwill in, and the going concern value of, the
        Business.

                    All of the foregoing will be included in the Acquired Assets and acquired by Buyer.

                1.2    Excluded Assets. The following shall be excluded from the Acquired Assets and
        retained by Seller, as applicable (collectively, the “Excluded Assets”):

                        (a)     January 24, 2020 Explosion Event. All of Seller’s rights, claims, and
        causes of action related to or arising from the January 24, 2020 explosion event originating on
        the real property in Houston, Texas upon which Watson Grinding conducted its business
        operations at the time of the explosion (the “Watson Grinding Explosion”). This includes, but
        is not limited to, causes of action against Watson Grinding and any other potentially responsible
        parties.

                       (b)    Employee Benefit Plans. All employee Benefit Plans, including, without
        limitation, employee pension, profit sharing 401(k), medical benefit or health plans and trusts,
        and related trust accounts, funds, insurance policies, investments, or other assets, and any sale
        bonus or retention agreements;

                        (c)     Rights Arising from Excluded Assets and Excluded Liabilities. All rights,
        claims, causes of action, and credits (including all indemnities, warranties and similar rights) in
        favor of Seller to the extent arising out of or resulting from any Excluded Asset or any Excluded
        Liability, including, but not limited to: (i) all claims of causes of action against potentially
        responsible parties for the Watson Grinding Explosion consistent with Section 1.2(a); and (ii)
        any insurance claims relating to or arising from the Watson Grinding Explosion.

                        (d)     Other Rights Retained by Seller. All rights, claims, causes of action, and
        credits in favor of Seller arising from or relating to: (i) all avoidance claims, causes of action, or
        rights of recovery under Chapter 5 of the Bankruptcy Code or other similarly applicable state law
        available to the Trustee.

                       (e)    Corporate and Other Records. All minute books, seal, stock records, tax
        returns and tax records, and all other books and records related to the Excluded Assets listed in
        Section 1.2;

                       (f)   Transaction Rights. All rights that accrue or will accrue to Seller under
        the Transaction Agreements;

                        (g)      Securities. All equity securities or other ownership interest of Seller and
        all equity securities or other ownership interest of any of such Seller’s Affiliates;

                     (h)          Utility Deposit. Any adequate assurance deposit under Section 366 of the
        Bankruptcy Code;

                       (i)    Real Property. Any real estate, including but not limited to real estate
        located in Houston, Texas (the “Houston Facilities”) other than Buyer’s rights to access those
        leaseholds previously described herein; and
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                         (j)     Insurance. Any rights or causes of action related to insurance proceeds
        related to or arising from the Houston Facilities.

                      (k)     Excluded Purchase Orders. Those certain Excluded Purchase Orders set
        forth on Schedule 1.2(k).

                1.3    Assumption of Certain Liabilities. Upon the terms and subject to the conditions
        of this Agreement, on the Closing Date, Buyer shall execute and deliver to Seller substantially in
        the form of Exhibit A-1 (the “Assignment and Assumption Agreement”) pursuant to which
        Buyer shall assume and agree to discharge, when due (in accordance with their respective terms
        and subject to the respective conditions thereof), only the following Liabilities (collectively, the
        “Assumed Liabilities”) and no others:

                        (a)     Assigned Contracts. All of the Seller’s Liabilities under the Assigned
        Contracts as selected by the Buyer and included on Schedule 1.1(h) to the extent such Liabilities
        are attributable to periods from and after the Closing Date.

                                            (i)     Schedule 1.1(h) sets forth each Executory Contract and
                    Seller’s good faith estimate of the amount of the Cure Costs payable in respect of each
                    such Executory Contract (and if no Cure Cost is estimated to be payable in respect of any
                    particular Executory Contract, the amount of such Cure Cost designated for such
                    Contract shall be “$0.00”); provided; however, that in the event the actual Cure Cost is
                    greater than an amount equal to one hundred twenty-five (125%) percent of Seller’s good
                    faith estimate of the amount of Cure Costs payable in respect of any such Executory
                    Contract, then Buyer shall not be obligated to assume any such Executory Contract and
                    shall notify Seller in writing of Buyer’s election not to assume same;

                                           (ii)   At the Closing (or, if the applicable Assigned Contract and
                    Interest is not assigned to Buyer at Closing, then at the time of the assignment of such
                    Assigned Contract and Interest to Buyer, if ever), Buyer shall pay, pursuant to Section
                    365 of the Bankruptcy Code and the Sale Order, any and all cure and reinstatement costs
                    or expenses that are required to be paid under sections 365(b)(1)(A) and (B) of the
                    Bankruptcy Code in connection with the assumption and assignment of the Assigned
                    Contracts and Interests (the “Cure Costs”). For the avoidance of doubt, the payment of
                    any Cure Costs called for by this Agreement shall be made by Buyer when due under the
                    terms of the respective Assigned Contract and shall be in addition to the Purchase Price
                    but in no event shall Buyer be required to make any payment of Cure Costs for, and shall
                    not assume any Liabilities with respect to, any Contract that is not an Assigned Contract
                    or as to which Buyer has elected not to assume because the Cure Cost is greater than an
                    amount equal to one hundred twenty-five (125%) percent of Seller’s good faith estimate
                    of the amount of Cure Costs payable in respect of any such Executory Contract (the
                    “Cure Costs Exceptions”);

                                          (iii) The Assigned Contracts shall be assumed by Seller and
                    assigned to Buyer in accordance with the requirements of Section 365 of the Bankruptcy
                    Code;


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                           (b)     All Cure Costs save and except only the Cure Costs Exceptions;

                       (c) Liabilities existing as of the Closing Date with respect to the HUAYOU
        Contract (the “HUAYOU Liability”);

                      (d)     any express or implied product warranties related to products
        manufactured, or for any services provided, by Seller in the ordinary course of business, except
        for any warranty obligations related to the Watson Grinding Explosion (such warranties
        excluding those related to the Watson Grinding Explosion, the “Prior Product Claims”);

                        (e)     all Liabilities for Taxes arising from or attributable to the Acquired Assets
        arising after the Closing Date;

                           (f)     Transfer Taxes. All transfer Taxes described in Section 2.10; and

                       (g)      The assumption by Buyer of the Assumed Liabilities shall not, in any way,
        enlarge the rights of any third parties relating thereto.

                1.4     Excluded Liabilities. Buyer does not, and shall in no event assume or be deemed
        to assume, nor shall it be liable for, any Liabilities of Seller or the Acquired Assets of any kind
        or nature whatsoever (whether express or implied, fixed or contingent, known or unknown, or
        whether the Liabilities could be asserted against or imposed upon Buyer as successors or
        transferees of a Seller as an acquirer of the Acquired Assets under any legal principle) other than
        the Assumed Liabilities (all Liabilities of Seller other than the Assumed Liabilities are referred to
        herein collectively as the “Excluded Liabilities”).

                    Without limiting the generality of the foregoing, Excluded Liabilities shall include:

                        (a)    Liabilities to, under or with respect to any Benefit Plan and the
        administration of any Benefit Plan, or relating to payroll, vacation, sick leave, workers’
        compensation, unemployment benefits with respect to employees or former employees of Seller
        or any of its predecessors, under any employment, severance, retention, or termination agreement
        with any employee of Seller, or arising out of or relating to any employee claim or allegation
        whether or not the affected employees are hired by Buyer, including any amounts payable under
        and sale bonus or retention agreements and/or any disputes related thereto or relating to injuries
        suffered by employees prior to the Closing Date;

                       (b)     any trade payables or any other Liability for any product or service
        provided to Seller on or before the Closing Date;

                       (c)     Liabilities relating to all Taxes arising as a result of Seller’s operation of
        the Business or ownership of the Acquired Assets prior to the Effective Time, and Taxes based
        on net income or attributable to sales or use that are assessed, accrued, or attributable for periods
        on or prior to the Closing Date and related penalties and interest, if any, but excluding transfer
        Taxes, if any (which are addressed in Section 2.10 and Section 6.3);



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                        (d)     Liabilities relating to any complaint, action, arbitration or regulatory,
        administrative, or government proceeding or investigation involving Seller or arising from
        actions of Seller or on or prior to the Closing Date;

                           (e)     all Indebtedness of Seller;

                       (f)     Liabilities arising out of any transaction affecting Seller and Liabilities
        incurred by Seller after the Closing Date;

                        (g)    any Liability to indemnify, defend, or hold harmless any of Seller’s
        officers, directors, employees, or agents;

                        (h)   Liabilities of Seller or any of its predecessors arising out of or relating to
        any of the following matters:

                                    (i)     any non-compliance with, or violation of, Environmental Laws
                    existing on or prior to the Closing Date arising from or related to: (A) the ownership, use
                    or operation of the Business, any property of the Business or any Acquired Assets; (B)
                    the design, configuration or condition of any Equipment of the Business; (C) the failure
                    to have or to comply with any material permits, registrations, or other governmental
                    approvals required under applicable Environmental Laws; or (D) the failure to have,
                    maintain or properly operate programs and equipment for monitoring of, or the failure to
                    report in an accurate and timely manner any discharges, emissions or releases;

                                  (ii)   any environmental condition that exists on, at, or under the
                    Acquired Assets on or prior to the Closing Date and that is attributable to the period of
                    ownership of Seller;

                                   (iii) the storage, transportation, treatment, disposal, discharge,
                    recycling or Release of any Hazardous Material on or under or from the Business or
                    Acquired Assets during or prior to Seller’s ownership thereof or at any off-site location
                    by Seller before the Closing Date, or the arrangement by Seller for any storage,
                    transportation, treatment, disposal, discharge, recycling, or Release of any Hazardous
                    Material at any off-site location on or prior to the Closing Date;

                                  (iv)     any contractual indemnity obligations relating to requirements of
                    Environmental Law or environmental Liabilities that Seller has undertaken in connection
                    with the Business or the Acquired Assets;

                           (i)     any Liability of Seller under any contract that is not an Assigned Contract;

                       (j)     any Liability of Seller relating to and arising from the ownership or
        operation of the Acquired Assets or the Business prior to the Closing; provided however, that
        this Section 1.4(j) shall not be deemed to include the HUAYOU Liability or the Prior Product
        Claims;



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                       (k)   any Liability of Seller arising out of or resulting from its compliance or
        noncompliance with any law, order, or regulation (except Environmental Laws, the Liabilities
        for which are governed by Section 1.4(h));

                       (l)    any Liability of Seller that could be or has been asserted or deemed in the
        Bankruptcy Cases or the basis of which arose or accrued on or prior to the Closing Date,
        regardless of whether so asserted or claimed;

                       (m)    any Liability of Seller to pay any fees or commissions to any broker or
        finder in connection with the transactions contemplated by this Agreement; and

                       (n)    any other Liability of Seller that is not an Assumed Liability, including
        without limitation any Liability relating to or arising out of the Watson Grinding Explosion.

                    1.5   Intentionally Omitted.

                    1.6   Consents.

                       (a)     Buyer acknowledges that the Final Sale Order will authorize the
        assumption and assignment of the Assigned Contracts without the requirement of any consent by
        the parties thereto, to the extent authorized by and in compliance with Section 365 of the
        Bankruptcy Code and/or the terms of the Bankruptcy Court’s Final Sale Order.

                        (b)    To the extent any Assigned Contract is not assumable and assignable by
        Seller to Buyer under Section 365 of the Bankruptcy Code without the consent of the applicable
        counterparty thereto, Seller and Buyer shall use their commercially reasonable efforts prior to
        Closing to obtain all such consents of Third Parties which are required under Section 365 of the
        Bankruptcy Code for the consummation of the transactions contemplated hereby (without
        conditions that are materially adverse to Buyer) (the “Required Consents”) as listed on
        Schedule 1.6(b). All such Required Consents shall be in writing and executed counterparts
        thereof shall be delivered to Buyer on or before the Closing Date.

                        (c)     If a Required Consent is not obtained, or if an attempted assignment
        thereof would be ineffective or would affect the rights thereunder so that Buyer would not
        receive all such rights, Seller shall use its commercially reasonable efforts after Closing to
        provide to Buyer the benefits under any such Contract or any claim or right, including without
        limitation, enforcement for the benefit of Buyer of any and all rights of Seller against a Third
        Party thereto arising out of the default or cancellation by such Third Party or otherwise. Seller
        shall continue to deal with the other contracting party or parties, with the benefits of such
        contract, property, right, or asset after the Closing Date accruing to the benefit of Buyer; Seller
        shall hold all related moneys received thereunder for the benefit of Buyer and shall pay the same
        to Buyer when received. Notwithstanding the foregoing, if Seller does not obtain a Required
        Consent, Buyer shall not be required to assume (or deemed to have assumed) such Contract (and
        such Contract will not be an Assigned Contract, unless the Buyer otherwise consents in writing).

                      (d)     Nothing in this Section 1.6 shall be deemed a waiver by Buyer of its right
        to receive an effective assignment of the Acquired Assets on the Closing Date, nor shall this

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        Section 1.6 be deemed to constitute an agreement to exclude from the Acquired Assets any assets
        described in this Section 1.6.

                    1.7    Consideration and Purchase Price, Closing Deposit

                       (a)    Consideration. Buyer shall purchase the Acquired Assets for aggregate
        consideration equal to $5,550,000.00, (the “Purchase Price”) minus the Covered Receivables
        Adjustment (as defined below), if any (the “Adjusted Purchase Price”). Upon Closing, Buyer
        shall tender the Adjusted Purchase Price to the Seller. Buyer shall also fund any Cure Costs to
        contract counterparties to the Assigned Contracts when due under the terms of the respective
        Assigned Contract.

                       (b)     Covered Receivables Adjustment. If the final amount of Covered
        Receivables as of the Closing Date (the “Final Covered Receivables”) is less than ninety
        percent (90%) of the Covered Receivables reflected on Schedule 1.1(c) hereto, then the Purchase
        Price shall be adjusted downward by an amount equal to the difference between: (i) the amount
        of Covered Receivables reflected on Schedule 1.1(c) hereto; and (ii) the Final Covered
        Receivables (such difference, the “Covered Receivables Adjustment”).

                      (c)    Closing Deposit. Upon execution of this Agreement, the Buyer shall
        tender an amount equal to ten percent (10%) of the Purchase Price to the Seller (the “Closing
        Deposit”) within one Business Day after the execution of this Agreement.

                    1.8    Bankruptcy Court Matters.

                           (a)    Approval of Motion for Sale.

                                  (i)     Within three (3) Business Days following the date of this
                    Agreement, Seller shall file with the Bankruptcy Court an emergency motion (the “Sale
                    Motion”) seeking an emergency hearing (“Final Sale Order Hearing”) to approve the
                    Final Sale Order as described in Section 1.8(b) (the date of such hearing, the “Final Sale
                    Order Hearing Date”) and find that an expedited hearing is required because of the
                    exigent circumstances of the Seller’s financial condition and the potential loss of the
                    HUAYOU Contract. Such Sale Motion and all exhibits thereto shall be in form and
                    substance acceptable to Buyer, in its sole discretion.

                                    (ii)   Seller shall promptly serve true and correct copies of the Sale
                    Motion and all related pleadings in accordance with the Bankruptcy Code, the Federal
                    Rules of Bankruptcy Procedure, the Local Rules for the United States Bankruptcy Court
                    for the Southern District of Texas and any other applicable order of the Bankruptcy
                    Court, so that in each case the Final Sale Order Hearing properly and validly occurs on or
                    before the Final Sale Order Hearing Date.

                       (b)    Final Sale Order. At the Final Sale Order Hearing, the Bankruptcy Court
        will approve and enter a final sale order (the “Final Sale Order”) that shall, among other things,

                                  (i)     approve, pursuant to Sections 105, 363 and 365 of the Bankruptcy
                    Code, and direct the sale and assignment of the Acquired Assets to Buyer and approve
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                    and direct the assumption and assignment of the Assigned Contracts to Buyer free and
                    clear of all Liens (other than Permitted Liens), claims, encumbrances and Liabilities
                    (other than Assumed Liabilities); provided that notwithstanding anything to the contrary
                    in the Agreement, Buyer shall not be entitled to disapprove the Final Sale Order by
                    reason of, and Buyer’s obligation to consummate the transactions provided for herein
                    shall not be conditioned upon the assumption and assignment of, any Assigned Contracts
                    with respect to which the Bankruptcy Court determines that Buyer has failed to provide
                    adequate assurance of future performance pursuant to Section 365 of the Bankruptcy
                    Code;

                                  (ii)  approve the execution, delivery and performance by Seller of all
                    Transaction Agreements (defined below);

                                   (iii) approve the performance by Seller of its respective obligations
                    under this Agreement;

                                 (iv)   find that Buyer is a “good faith” purchaser within the meaning of
                    Section 363(m) of the Bankruptcy Code and grant Buyer the protections under such
                    section;

                                   (v)    find that Buyer is not deemed to be successor to Seller, to have, de
                    facto or otherwise, merged with or into Seller or to be a mere continuation of Seller;

                                 (vi)     find that the Purchase Price is a fair and reasonable price for the
                    Acquired Assets;

                                   (vii) include a finding confirming the adequacy of notice to all creditors
                    and parties in interest and parties to any executory contract, unexpired lease or right of
                    entry;

                                    (viii) authorize the assumption and assignment of the Assigned
                    Contracts without the requirement of any consent by the parties thereto subject to Section
                    1.6(b) of this Agreement;

                                 (ix)   include provisions for the retention of jurisdiction in the
                    Bankruptcy Court over matters relating to the transactions contemplated in this
                    Agreement including matters relating to title to the Acquired Assets and claims against
                    the Acquired Assets which arose or were based on facts or occurrences prior to the
                    Closin; and

                                    (x)   Buyer agrees that it will promptly take such actions as are
                    reasonably requested by Seller to assist in obtaining Bankruptcy Court approval of the
                    Final Sale Order, including furnishing affidavits or other documents or information for
                    filing with the Bankruptcy Court for purposes, among others, of: (A) demonstrating that
                    Buyer is a “good faith” purchaser under Section 363(m) of the Bankruptcy Code; and (B)
                    establishing adequate assurance of future performance within the meaning of Section 365
                    of the Bankruptcy Code.

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                       (c)    Contracts. To the extent required under applicable Federal Rules of
        Bankruptcy Procedure and the Bankruptcy Code, Seller shall serve on all non-Seller
        counterparties to all of their Contracts a notice specifically stating that Seller is or may be
        seeking the assumption and assignment of such Contracts and shall notify such non-Seller
        counterparties of the deadline for objecting to any aspect of the proposed assumption and
        assignment of their Contracts to Buyer.

                           (d)     Certain Bankruptcy Undertakings by Seller.

                                    (i)     Except as ordered by the Bankruptcy Court, Seller shall neither
                    take any action, nor fail to take any action, which action or failure to act would
                    reasonably be expected to prevent or impede the consummation of the transactions
                    contemplated by this Agreement in accordance with the terms of this Agreement or result
                    in: (i) the reversal, avoidance, revocation, vacating or modification (in any manner that
                    would reasonably be expected to materially and adversely affect Buyer’s rights
                    hereunder); or (ii) the entry of a stay pending appeal.

                                   (ii)   If the Final Sale Order or any other order of the Bankruptcy Court
                    relating to this Agreement is appealed by any Person (or a petition for certiorari or
                    motion for rehearing or re-argument shall be filed with respect thereto), Seller, with the
                    reasonable cooperation of Buyer, shall take all steps as may be reasonable and
                    appropriate to defend against such appeal, petition or motion, and shall endeavor to
                    obtain an expedited resolution of such appeal..

                                   (iii)   The Closing shall not be consummated unless the Final Sale Order
                    has been entered.

                                                      ARTICLE 2.
                                       Closing; Deliveries of the Parties at Closing

               2.1      The Closing. The consummation of the transactions provided for in this
        Agreement (the “Closing”), which shall be deemed to occur at 12:01 a.m. Central Time (the
        “Effective Time”) within two (2) Business Days of the date that all of the conditions precedent
        to Closing set forth in this Article 2 have been satisfied and the Bankruptcy Court has entered the
        Final Sale Order or on such other date as the Parties may agree (“Closing Date”), shall take
        place via telephonic conferencing and electronic exchange of signature pages, or at such other
        time or place as the Parties may agree. The rights and obligations of the Parties if there is no
        Closing are set forth in Section 2.13.

               2.2     Conditions Precedent to Obligation of Buyer. The obligation of Buyer to proceed
        with the Closing is expressly subject to the fulfillment prior to or at Closing of the conditions
        precedent set forth in this Section 2.2. Any one or more of these conditions precedent may be
        waived, in whole or in part, in writing by Buyer at Buyer’s sole option.

                       (a)    Agreements. Seller shall have performed in all material respects all of the
        agreements and covenants and complied with all of the provisions required by this Agreement
        and the Seller Transaction Documents to be performed or complied with by each such Party at or
        before the Closing Date, and the Schedules to this Agreement provided by Seller shall be true,
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        correct and complete in all material respects to the best of the Seller’s Knowledge at the time of
        the Closing Date. 3

                        (b)    Adverse Claims. Neither of the Parties shall have received any claim by
        any Person asserting that any Person other than Seller is the owner of any of the material
        Acquired Assets or is entitled to all or any portion of the Purchase Price (other than any lenders
        to be repaid at Closing as contemplated by this Agreement).

                       (c)     No Material Adverse Effect. Between the date of this Agreement and the
        Closing Date, no event or events shall have occurred that, individually or in the aggregate, has
        had or is reasonably likely to result in a Seller Material Adverse Effect.

                       (d)      Bankruptcy Matters. The Final Sale Order shall have been entered by the
        Bankruptcy Court and the Bankruptcy Court has waived the stay under Bankruptcy Rule 6004(h)
        to allow the parties to consummate the sale immediately (the “Waiver”).

                        (e)    Closing Certificate. The Chapter 11 Trustee shall have delivered a
        certificate, dated as of the Closing Date, in a form satisfactory to Buyer, certifying to the
        fulfillment of the conditions set forth in subparagraphs (a), (b), (c), (d), (f), and (g) of this
        Section 2.2.

                        (f)    Employment Payments. Buyer shall have received evidence reasonably
        satisfactory to Buyer that Seller, on or prior to the Closing Date, has paid all of its employees all
        salary, wages, bonuses (including pro rata share of any typical annual bonus) and other
        compensatory obligations from the date of filing of Chapter 11 through the Closing Date
        (including any that arise as a result of the Closing).

                      (g)     Closing Documents. Buyer shall have received the other agreements and
        documents referred to in Section 2.7. All certificates and other documents delivered by Seller to
        Buyer under this Agreement shall be in form and substance satisfactory to Buyer.

               2.3     Conditions Precedent to Obligation of Seller. The obligation of Seller to proceed
        with the Closing is expressly subject to the fulfillment prior to or at Closing of the conditions
        precedent set forth in this Section 2.3. Any one or more of these conditions may be waived, in
        whole or in part, in writing by Seller at the sole option of Seller.

                        (a)      Representations and Warranties. The representations and warranties of
        Buyer contained in Article 5 shall be, individually and collectively, true and correct (in the case
        of any representation or warranty containing any materiality qualification) or true and correct in
        all material respects (in the case of any representation or warranty without any materiality
        qualification): (i) at and as of the date of this Agreement; and (ii) on and as of the Closing Date
        as if made on the Closing Date.



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          Due to the January 24 Explosions, certain records and record-keeping methods have been interrupted. In the event
        any specific Schedule is inaccurate, the Parties shall use reasonable efforts to address the inaccuracy and such
        inaccuracy shall not constitute a material breach.
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                      (b)   Agreements. Buyer shall have performed in all material respects all of the
        agreements and complied with all of the provisions required by this Agreement and the Buyer
        Transaction Documents to be performed or complied with by it at or before the Closing Date.

                        (c)     Litigation. Neither of the Parties to this Agreement shall: (i) be subject to
        any restraining order or injunction restraining or prohibiting the consummation of the
        transactions contemplated by this Agreement; or (ii) have received written notice from any
        Governmental Entity of its intention to institute any action or proceeding seeking to restrain,
        enjoin, or nullify this Agreement or the transactions contemplated hereby.

                        (d)    Closing Certificate. The Buyer shall have delivered a certificate, dated as
        of the Closing Date, in a form satisfactory to Seller, certifying to the fulfillment of the conditions
        set forth in subparagraphs (a), (b), (c), (e), and (f).

                       (e)    Bankruptcy Matters. The Final Sale Order as contemplated by Section
        1.8(b) shall have been entered by the Bankruptcy Court and shall be final and non-appealable
        and not have been reversed, stayed, modified, or amended.

                        (f)    Closing Documents. Seller shall have received the documents and other
        items referred to in Section 2.8.

                    2.4    Seller Covenants. Seller covenants and agrees as follows:

                       (a)     Pre-Closing Conduct of Business. Between the date of this Agreement
        and the Closing Date, Seller shall perform its obligations under all Contracts and agreements
        relating to the Business in the usual and ordinary course of business and in accordance with
        existing policies and past practices, except as expressly contemplated by this Agreement.
        Without limiting the generality of the foregoing, except as disclosed on Schedule 2.4(a), Seller
        shall not (without the prior written consent of Buyer):

                                  (i)     engage in any transaction outside the ordinary course of Business
                    or in a manner inconsistent with past practice, or enter into, terminate, or amend or
                    modify, any Contract in which Seller is a party;

                                  (ii)    incur, commit to incur or maintain any Indebtedness outside the
                    ordinary course of Business or in a manner inconsistent with past practice;

                                   (iii) assume, guarantee, endorse or otherwise become responsible for
                    the obligations of any other Person or make any loans or advances to any Person;

                                   (iv)    issue, sell, pledge, lease, dispose of, encumber, or authorize the
                    issuance, sale, pledge, lease, disposition or encumbrance of: (A) any shares of capital
                    stock of any class or any options, warrants, convertible securities or other rights of any
                    kind to acquire any shares of capital stock, or any other ownership interest, of Seller; or
                    (B) any assets that are material, individually or in the aggregate, to the Business except
                    for the sales of Inventory in the ordinary course of business and in a manner consistent
                    with past practice;

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                                    (v)   grant or pay any bonus, increases in compensation, incentive
                    compensation or other employee benefit to, or enter into any contract with, its officers or
                    its employees, except for in the ordinary course and consistent with past practices or
                    pursuant to this Agreement;

                                   (vi)    initiate, settle or compromise any material claims or litigation or,
                    except in the ordinary and usual course of business, waive, release or assign any material
                    rights or claims; or

                                   (vii) permit any insurance policy naming Seller as a beneficiary or a
                    loss payable payee to be canceled or terminated.

                        (b)    Business and Goodwill. Prior to the Closing Date, Seller shall use its
        commercially reasonable efforts to preserve intact the Business, to preserve and maintain Seller’s
        goodwill and business relationships with customers, suppliers, employees and others having
        business relations with it, and to maintain in full force and effect and to protect and enforce, each
        in accordance with past practices, all permits, licenses, authorizations and Intellectual Property
        rights of Seller.

                        (c)    Insurance. Seller shall maintain, or cause to be maintained, in full force
        and effect, through the Closing, all of the insurance policies of or covering Seller, its Business,
        the Acquired Assets and its employees in effect on the date hereof, unless replaced by
        substantially comparable coverage. Seller shall promptly advise Buyer in writing of any fire,
        accident, or other casualty or loss occurring prior to the Closing Date, which individually or in
        the aggregate adversely affects the value of the Acquired Assets in an amount in excess of
        $25,000.

                        (d)      Access to Properties, Facilities, Files, and Records. At the reasonable
        request of Buyer and upon reasonable advance notice, Seller shall, during normal business hours,
        give or cause to be given to Buyer and the Representatives of Buyer: (i) full access to the
        management personnel, property, accounts, books, deeds, title papers, insurance policies,
        licenses, agreements, contracts, commitments, logs, records and files of every character, related
        to the equipment, machinery, fixtures, furniture, vehicles and notes and accounts payable and
        receivable, and (ii) all such other information as Buyer may reasonably request, all as it relates to
        the Business. Buyer shall have the right to have the tangible personal property included within
        the Acquired Assets inspected by Buyer or Buyer’s Representatives for purposes of determining
        the physical condition and legal characteristics of the tangible personal property. Prior to the
        entry of the Final Sale Order, as Buyer may reasonably request, Seller will cooperate with Buyer
        for the purpose of permitting Buyer and its Representatives to discuss the business, prospects and
        assets of Seller with Seller’s key employees, customers, counsel, and accounting firm. For the
        avoidance of doubt, other than with respect to any notice required to be given to Seller and as a
        precondition to any inspection, review, assessment, interview, test or audit (each an
        “Assessment”), which may be conducted by Buyer or its Representatives pursuant to this
        Agreement, Buyer and its Representatives shall coordinate and communicate directly with the
        Representatives of Seller and in connection with the scheduling and undertaking, and the
        disclosure of the outcome or results, of any such Assessment. Notwithstanding the foregoing or
        any other provision of this Agreement, nothing in this Agreement shall require Seller to disclose
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        or make available to Buyer any information subject to the attorney-client, attorney work product,
        consulting-only expert, or similar privilege.

                        (e)     Notice of Proceedings. Seller shall promptly notify Buyer telephonically
        and in writing upon Seller: (i) becoming aware of any order or decree or any complaint praying
        for an order or decree restraining or enjoining the consummation of this Agreement or the
        transactions contemplated hereunder: or (ii) receiving any notice from any Governmental Entity
        or the Bankruptcy Court of its intention: (A) to institute an investigation into, or institute a suit or
        proceeding to restrain or enjoin, the consummation of this Agreement or such transactions; or
        (B) to nullify or render ineffective this Agreement or such transactions if consummated.

                2.5     Buyer Covenants. Buyer covenants and agrees to promptly notify Seller
        telephonically and in writing upon Buyer: (a) becoming aware of any order or decree or any
        complaint praying for an order or decree restraining or enjoining the consummation of this
        Agreement or the transactions contemplated hereunder; or (b) receiving any notice from any
        Governmental Entity of its intention (i) to institute an investigation into, or institute a suit or
        proceeding to restrain or enjoin, the consummation of this Agreement or such transactions, or (ii)
        to nullify or render ineffective this Agreement or such transactions if consummated.

                2.6    Public Announcement. Subject to the provisions of the Bankruptcy Code and
        Seller’s right to make such filings and disclosures as it in good faith deems necessary or
        appropriate in connection with the Bankruptcy Case, neither Party hereto shall make or issue, or
        cause to be made or issued, any public announcement or written statement concerning this
        Agreement or the transactions contemplated hereby, without the prior written consent of the
        other Party hereto (which will not be unreasonably withheld or delayed), unless counsel to such
        Party advises that such announcement or statement is required by law (such as an obligation to
        disclose under federal securities laws of the United States), in which case the Parties hereto shall
        make reasonable efforts to consult with each other prior to such required announcement.

                2.7    Deliveries at the Closing by Seller. At the Closing, Seller shall deliver, or cause
        to be delivered, to Buyer (unless delivered previously):

                       (a)     the Assignment and Assumption Agreement;

                         (b)      a Bill of Sale in substantially the form of Exhibit B-1 attached hereto (the
        “Bill of Sale”), together with assignments, certificates of title and other instruments of sale,
        transfer, and assignment in form and substance reasonably satisfactory to Buyer and its counsel
        sufficient to sell, transfer, and assign to Buyer all right, title, and interest of Seller and good and
        valid title to Seller’s interest in and to the Acquired Assets;

                       (c)     Intentionally Omitted;

                        (d)    certificates of title to all motor vehicle(s) included in the Acquired Assets
        (if any), duly endorsed for transfer to Buyer as of the Closing Date;

                      (e)   Buyer shall have received on the Closing Date a certificate, as
        contemplated under and meeting the requirements of section 1.1445-2(b)(2)(i) of the Treasury

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        Regulations, to the effect that Seller is not a foreign person within the meaning of the Code and
        applicable Treasury Regulations;

                       (f)    a certificate from the Chapter 11 Trustee, in a form and substance
        reasonably satisfactory to Buyer, setting forth the aggregate amount of Indebtedness of Seller as
        of the Closing Date; and

                         (g)     such other documents or instruments as Buyer or its counsel may request
        that are reasonably required to be delivered by Seller at or prior to Closing pursuant to this
        Agreement or otherwise required in connection herewith (such items referred to in clauses (a),
        (b), (d), (e), and (f) above, together with this Agreement are collectively referred to as the “Seller
        Transaction Documents”).

                2.8    Deliveries at the Closing by Buyer. At the Closing, Buyer shall deliver to Seller
        (unless delivered previously):

                      (a)      a counterpart to the Assignment and Assumption Agreement, duly
        executed by Buyer;

                       (b)     the Adjusted Purchase Price, payable in accordance with Section 1.7; and

                       (c)    such other documents or instruments as Seller or its counsel may request
        that are reasonably required to be delivered by Buyer at Closing pursuant to this Agreement or
        otherwise required in connection herewith (such items referred to in clauses (a) through (b)
        above, together with this Agreement are collectively referred to as the “Buyer Transaction
        Documents”).

               2.9     Passage of Title. Title to all Acquired Assets shall pass from Seller to Buyer at
        Closing, subject to the terms and conditions of this Agreement.

                2.10 Transfer Taxes. Buyer shall pay any transfer Taxes incurred in connection with
        the transfer of the Acquired Assets from Seller to Buyer in connection with this Agreement.

               2.11 Right to Contest. The assumption and agreement by Buyer to pay, perform, and
        discharge the Assumed Liabilities shall not prohibit Buyer from contesting with a Third Party the
        amount, validity, or enforceability of any liability thereof.

                2.12 Fulfillment of Conditions and Agreements Prior to Closing. Each Party shall use
        commercially reasonable efforts to satisfy all of those conditions to the obligations of the other
        under this Article 2 that are not beyond its reasonable control prior to the Closing Date. Each
        Party shall use commercially reasonable efforts to take, or cause to be taken, all action and do, or
        cause to be done, all things necessary, proper or advisable, including making or obtaining any
        and all consents and authorizations, to consummate and make effective the transactions
        contemplated by this Agreement, including making all filings required under applicable law.
        Notwithstanding the foregoing, Buyer shall not be required to take any action to comply with any
        legal requirement or agree to the imposition of any Governmental Entity order, judgment, or
        decree that would: (a) prohibit or restrict the ownership or operation by Buyer of any portion of

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        the Acquired Assets; (b) compel Buyer to dispose of or hold separate any portion of its assets; or
        (c) impose any limitation on the ability of Buyer to own or operate the Business.

                    2.13   Termination Prior to Closing.

                       (a)     Events of Termination. This Agreement may be terminated in writing at
        any time prior to the Closing as follows:

                                   (i)     by the mutual consent of Buyer, on the one hand, and Seller on the
                    other hand;

                                    (ii)     by written notice from Buyer, if any of the conditions specified in
                    Section 2.2 shall not have been fulfilled (or if satisfaction becomes impossible) by the
                    Closing Date and shall not have been waived by Buyer; provided further, however, that
                    Buyer shall not be permitted to terminate this Agreement pursuant to this Section
                    2.13(a)(ii) if Buyer is in material breach of this Agreement;

                                     (iii) by written notice from Seller, if any of the conditions specified in
                    Section 2.3 shall not have been fulfilled (or if satisfaction becomes impossible) by the
                    Closing Date and shall not have been waived by Seller; provided further, however, that
                    Seller shall not be permitted to terminate this Agreement pursuant to this Section
                    2.13(a)(iii) if Seller is in material breach of this Agreement;

                                   (iv)    by written notice from Buyer if: (A) Seller seeks to have the
                    Bankruptcy Court enter an order dismissing, or converting the Bankruptcy Case into a
                    case under chapter 7 of the Bankruptcy Code; or (B) an order of dismissal or conversion
                    of the Bankruptcy Case is entered for any reason and is not reversed or vacated within
                    fourteen (14) days after entry thereof;

                                    (v)    by written notice from Buyer, if: (A) the Final Sale Order shall not
                    have been approved and entered by the Bankruptcy Court by the close of business on the
                    second Business Day following the Final Sale Order Hearing Date; or (B) the Final Sale
                    Order fails to contain substantially the same provisions as described in Section 1.8(b) (or
                    as may be approved by Buyer in its sole discretion);

                                   (vi)    by written notice from Buyer, if: (A) the Bankruptcy Court issues
                    an order granting leave to any Person to commence an appeal of the Final Sale Order; or
                    (B) following its entry, the Final Sale Order shall fail to be in full force and effect or shall
                    have been stayed, reversed, modified or amended in any respect without the prior written
                    consent of Buyer in its sole discretion;

                                   (vii) by written notice from Buyer if: (A) the Final Sale Order does not
                    provide for the Waiver; or (B) without Buyer’s prior written consent in its sole discretion
                    and if it so consents then by written notice from Buyer if the Final Sale Order has not
                    become final and non-appealable;



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                                  (viii) by written notice from Buyer, if a material breach of any provision
                    of this Agreement has been committed by Seller and such breach has not been cured or
                    waived by Buyer after prior written notice and reasonable opportunity to cure;

                                  (ix)     by written notice from Seller, if a material breach of any provision
                    of this Agreement has been committed by Buyer and such breach has not been cured or
                    waived by Seller after prior written notice and reasonable opportunity to cure;

                                   (x)     by written notice from the Seller or Buyer, if there is in effect a
                    final order of a Governmental Entity of competent jurisdiction restraining, enjoining or
                    otherwise prohibiting the consummation of the transactions contemplated by this
                    Agreement; it being agreed that at the request of the Buyer, the Parties will promptly
                    appeal any adverse determination which is not non-appealable and pursue such appeal
                    with reasonable diligence unless and until this Agreement is terminated pursuant to any
                    other provisions of this Section 2.13(a).

                Each power in this Section 2.13(a) pursuant to which this Agreement may be terminated
        shall be considered separate and distinct from each other such power. If more than one of the
        termination powers set forth in this Section 2.13(a) are applicable, the applicable Party shall have
        the right to choose the termination power pursuant to which this Agreement is to be terminated.
        The Parties acknowledge and agree that no notice of termination of the Closing Date provided
        pursuant to this Section 2.13(a) shall become effective until two (2) Business Days after the
        delivery of such notice to the other Party, and only if such notice shall not have been withdrawn
        during such two (2) Business Day period.

                           (b)     Consequences of Termination and Closing Deposit

                                  (i)    If this Agreement is terminated by mutual consent of Seller and
                    Buyer, no Party hereto shall have any obligation to any other Party as a result of that
                    termination.

                                    (ii)    If any Party terminates this Agreement for any reason other than as
                    described in Section 2.13(a)(i), Section 2.13(a)(iv), Section 2.13(a)(v), Section
                    2.13(a)(vi), Section 2.13(a)(vii), or Section 2.13(a)(x), Buyer, on the one hand, and
                    Seller, on the other hand, may be liable to the other for any material breach of this
                    Agreement by such Party which breach led to such termination. Each Party shall also be
                    entitled to any other remedy to which it may be entitled at law or in equity, including
                    injunctive relief and specific performance, in the event of a termination of this Agreement
                    that is not in accordance with Section 2.13(a), all of which remedies hereunder are
                    cumulative and are not exclusive of any other remedies.

                                   (iii) If the Closing does not occur on or before the Closing Date and no
                    Party’s material breach of this Agreement was the cause of the failure to close by that
                    date (and such Party is otherwise complying with all of its obligations under this
                    Agreement), then no Party shall have any Liability to the other Party under this
                    Agreement, this Agreement shall terminate, and Seller shall promptly refund the Closing
                    Deposit to Buyer.

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                                      (iv)     Notwithstanding anything contained in Section 1.7(b) or Section
                    2.13(b), if the Buyer does not close the transaction contemplated by this Agreement
                    within five (5) Business Days following the Bankruptcy Court’s entry of the Final Sale
                    Order approving the Agreement and related transactions, then the Buyer loses any and all
                    rights to the Closing Deposit and such amount shall remain with the Seller except in an
                    event of force majeure or other reason beyond the reasonable control of Buyer in which
                    event the Closing Deposit will be refunded to Buyer. Notwithstanding the forgoing
                    subsection, if the transaction fails to close due to a termination events listed in Section
                    2.13(a)(i), (ii), (iv), (v), (vi), (vii), (viii), or (x), then the Closing Deposit shall be returned
                    to the Buyer.

                                  (v)    If the Buyer does close within five (5) Business Days of the
                    Bankruptcy Court’s entry of an order approving the transaction contemplated in this
                    Agreement, then the Closing Deposit will be credited to the Adjusted Purchase Price.

               All rights and obligations of the Parties set forth in this Section 2.13 and Article 8, and
        the Final Sale Order (if entered) shall survive termination of this Agreement.

                                                      ARTICLE 3.
                                         Representations and Warranties of Seller

                 Buyer will accept the Acquired Assets at the Closing and assume the Assumed
        Liabilities at the Closing “AS IS,” “WHERE IS” AND “WITH ALL FAULTS.”

                                                        ARTICLE 4.
                                                    Intentionally Omitted

                                                      ARTICLE 5.
                                         Representations and Warranties of Buyer

        Buyer separately represents to Seller as follows:

                5.1     Corporate Status; Authority. Buyer is a Texas corporation duly formed, validly
        existing and in good standing under the laws of the State of Texas. Buyer is duly qualified and
        in good standing to do business in each jurisdiction in which the conduct or nature of its business
        or the ownership, leasing or holding of its properties makes such qualification necessary, except
        such jurisdictions where the failure to be so qualified or in good standing, individually or in the
        aggregate, would not reasonably be expected to have a material adverse effect on the ability of
        Buyer to perform its obligations under or to consummate the transactions contemplated by this
        Agreement. Buyer has all requisite power to carry on its business as it is now being conducted,
        to own and operate such business and Buyer has all requisite power to enter into this Agreement
        and the Buyer Transaction Documents, to perform its obligations hereunder and to complete the
        transactions contemplated hereby.

                5.2    Corporate Action; Authority; Execution.          All organizational proceedings
        necessary to be taken by or on the part of Buyer in connection with the transactions contemplated
        by this Agreement and the Buyer Transaction Documents have been duly and validly taken. The
        execution, delivery and performance of Buyer of this Agreement and each of the other Buyer
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        Transaction Documents and the consummation of the transactions contemplated hereby have
        been duly and validly authorized, executed and delivered by Buyer and (assuming due
        authorization, execution, and delivery by Seller) will constitute, the legal, valid and binding
        obligation of Buyer, enforceable against Buyer, in accordance with and subject to its terms,
        except as may be limited by bankruptcy, insolvency, reorganization, or other laws affecting
        creditors’ rights generally and by general equitable principles.

                5.3     No Conflicts. Neither the execution, delivery and performance by Buyer of this
        Agreement or any of the Buyer Transaction Documents, nor the consummation by Buyer of the
        transactions contemplated hereby or thereby is an event that, by itself or with the giving of notice
        or the passage of time or both, will: (a) conflict with the organizational documents of Buyer; (b)
        constitute a violation of, or result in any breach of or any default under, or constitute grounds for
        termination or acceleration of, any material mortgage, indenture, lease, contract, agreement or
        instrument to which Buyer is a party or by which it is bound; or (c) violate (i) any judgment,
        decree or order, or (ii) any statute, rule or regulation, in each such case, applicable to Buyer.
        Except with respect to the Final Sale Order, the execution, delivery and performance by Buyer of
        this Agreement, and the consummation by Buyer of the transactions contemplated hereby,
        require no action by or in respect of, or filing with, any Governmental Entity other than the
        Bankruptcy Court.

                 5.4     Financing. As of the Closing Date, Buyer will have cash and available credit
        facilities in an aggregate amount sufficient to pay the Adjusted Purchase Price as required by this
        Agreement and any associated Cure Costs with Assigned Contracts. Buyer’s obligations
        hereunder are not conditioned upon Buyer’s obtaining financing from any source.

                                                 ARTICLE 6.
                                             Additional Agreements

                6.1     Cooperation. Subject to the final sentence of Section 2.4(d), Seller agrees to
        furnish to Buyer, and Buyer agrees to furnish to Seller, upon request as promptly as practicable,
        such information and assistance relating to the Acquired Assets and the Business, and with
        access to the books, files, records, data, and any other tangible and intangible items transferred
        pursuant to Section 1.1(i) as is reasonably necessary for the filing of any tax return, declaration
        or report, the making of any election related to Taxes, the preparation for any audit by any taxing
        authority, or the prosecution or defense of any claim, suit, or proceeding, or the winding up of
        their affairs (which information shall be maintained confidentially). Seller and Buyer shall
        cooperate fully as to and to the extent reasonably requested, in the conduct of any audit, litigation
        or other proceeding to the extent relevant to the Acquired Assets of the Business.

                    6.2   Employees.

                        Buyer shall have no Liability for any costs or Liabilities arising from any
        employee’s termination of employment with the Seller, including but not limited to costs and
        Liabilities attributable to Seller’s employees (including without limitation, any severance
        payments resulting therefrom and continued group health plan benefits under the Consolidated
        Omnibus Budget Reconciliation Act of 1985 (“COBRA”) on and after the Closing Date to any
        Seller employee or eligible dependent of a Seller employee). In the event that Buyer or one of its

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        Affiliates incurs any Liability or expense as a result of being required to provide COBRA
        continuation coverage to an “M&A qualified beneficiary” (within the meaning of Treasury
        Regulation Section 54.4980B—9) from and after the Closing Date, Seller will reimburse Buyer
        or Buyer’s Affiliate for any costs and expenses incurred by Buyer and Buyer’s Affiliate in
        connection with providing such COBRA coverage, including, without limitation, third party
        administrative fees and charges incurred with respect to the administration and maintenance of
        the COBRA coverage described hereunder. Nothing in this Section 6.2 shall be construed as a
        guaranty of employment for any period of time.

                    6.3    Taxes; Final Sales Tax Return.

                        (a)    Taxes. Seller shall be responsible for all Taxes in connection with,
        relating to or arising out of the Business or the ownership of the Acquired Assets, or the
        Assumed Liabilities attributable to taxable periods, or portions thereof, ending on or before the
        Closing, which Taxes shall be an Excluded Liability. All state and local sales and use Taxes, to
        the extent attributable to periods prior to the Closing, shall be paid or otherwise discharged by
        Seller, including any and all sales or transfer taxes incurred or owed as a result of the
        transactions contemplated by this Agreement.

                           (b)     Filings and Cooperation.

                                   (i)     Seller shall be responsible for filing or causing to be filed and
                    paying all federal income Taxes of or payable by Seller and all state, local, provincial and
                    foreign income Taxes with respect to which Seller is required to file for all taxable
                    periods ending on or prior to the Closing Date.

                                   (ii)   Seller and Buyer shall: (A) provide the other with such assistance
                    as may reasonably be requested by either of them in connection with the preparation of
                    any tax return, any audit or other examination by any taxing authority or any judicial or
                    administrative proceeding with respect to Taxes; (B) retain and provide the other with
                    any records or other information which may be relevant to such return, audit,
                    examination or proceeding; and (C) provide the other with any final determination of any
                    such audit or examination proceeding or determination that affects any amount required
                    to be shown on any tax return of the other for any period (which shall be maintained
                    confidentially).

                 6.4     Name Change. As promptly as practicable after the Closing Date, Seller shall file
        in all jurisdictions in which it is qualified to do business any documents necessary to reflect such
        change of name to a name not including the word “Watson” or to terminate its qualification
        therein.

                6.5    Maintenance of Data Post-Closing. Buyer agrees to maintain all data acquired as
        part of the Acquired Assets pertaining to the Watson Grinding Explosion and resulting litigation
        (the “Litigation”) in retrievable form upon prior written request by Seller and interested parties
        from and after the Closing Date until the conclusion of the Litigation by trial or other final
        resolution.


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                                                   ARTICLE 7.
                                                     Claims

               7.1    General Provisions.      The representations, warranties and, to the extent
        performable after Closing, covenants set forth in this Agreement shall survive the Closing.

                7.2     Specific Performance. Seller, on the one hand and Buyer, on the other hand,
        acknowledge that the rights of the other Party to consummate the transactions contemplated
        hereby are unique and recognize and affirm that in the event of a breach of this Agreement by
        Seller or Buyer, as the case may be, money damages may be inadequate and the non-breaching
        Party may have no adequate remedy at law. Accordingly, the Parties agree that such non-
        breaching Party shall have the right, in addition to any other rights and remedies existing in its
        favor at law or in equity, to enforce its rights and the other Party’s obligations hereunder not only
        by an action or actions for damages but also by an action or actions for specific performance,
        injunctive or other equitable relief (without posting of bond or other security).

                                                   ARTICLE 8.
                                                   Miscellaneous

               8.1     Costs and Expenses. Each Party hereto shall bear all of its expenses incurred in
        connection with the transactions contemplated by this Agreement, including, without limitation,
        accounting, legal and financial advisory fees and expenses incurred in connection herewith.

               8.2     Binding Effect Assignments. This Agreement shall be binding upon Buyer and
        the Final Sale Order, Seller, and inure to the benefit of the Parties and their respective successors
        and permitted assigns and any successor Chapter 7 case.

                8.3     No Assignment. No Party hereto may assign any of its rights or delegate any of
        its duties hereunder without the prior written consent of the other Party, and any such attempted
        assignment or delegation without such consent shall be void and of no force and effect.
        Notwithstanding the foregoing, Buyer shall have the right to assign its rights and delegate its
        duties under this Agreement to: (a) any of its Affiliates; or (b) any other Person or entity,
        provided that such Person or entity acquires (whether by merger, operation of law, or otherwise)
        all or substantially all of Buyer’s assets, and provided, further, that, in either case, no assignment
        shall relieve Buyer of any of its obligations hereunder.

               8.3     Further Assurances. The Parties shall from time to time do and perform such
        additional acts and execute and deliver such additional documents and instruments as may be
        required or reasonably requested by any Party to establish, maintain or protect its rights and
        remedies or to effect the purpose of this Agreement.

                8.4    Notices. Notices and other communications required or provided for herein shall
        be in writing (which shall include notice by facsimile transmission) and shall be deemed to have
        been duly given and received: (a) upon receipt, when delivered by hand or personal delivery; (b)
        upon transmission, when sent by facsimile transmission (with written confirmation of successful
        transmission); (c) on the second Business Day after the date of mailing, if delivered by a
        nationally recognized overnight delivery service (receipt requested); or (d) upon receipt, if
        delivered by certified or registered mail (receipt requested), in each case addressed as follows:
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                      If to Seller:

                              Robert Ogle
                              711 Louisiana Street
                              Suite 2100
                              Houston, Texas 77002
                              Email: Bogle@theclarogroup.com

                      with a copy to:

                              Jarrod Martin, Esq.
                              Chamberlain Hrdlicka
                              1200 Smith St Suite 1400,
                              Houston, TX 77002
                              Email: Jarrod.Martin@chamberlainlaw.com

                              Matthew Okin
                              Okin Adams LLP
                              1113 Vine Street, Suite 240
                              Houston, TX 77002
                              Email: mokin@okinadams.com

                      If to Buyer:

                              MOGAS Industries, Inc.
                              c/o Matt Mogas
                              14204 E. Hardy Street
                              Houston, Texas 77039
                              E-mail: mmogas@mogas.com

                              with a copy to:

                              Susan E. Pravda
                              Foley & Lardner LLP
                              111 Huntington Avenue, Suite 2500
                              Boston, MA 02199-7610
                              E-mail: SPravda@foley.com

        or to such other address as a Party may from time to time designate in writing to each of the
        other Parties in accordance with this Section 8.4.        All notices, demands and other
        communications hereunder may be given by other means (including telecopy or electronic mail),
        but will not be deemed to have been duly given unless and until it is actually received by the
        intended recipient.

                8.5     Amendment and Modification. This Agreement may be amended, modified, or
        supplemented at any time after the Closing Date but only by the written and executed agreement
        of both Parties hereto.

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               8.6     Captions. The captions of Articles and Sections of this Agreement are for
        convenience only and shall not control or affect the meaning or construction of any of the
        provisions of this Agreement.

                    8.7   Governing Law; Submission to Jurisdiction; Waivers.

                  (a)  EXCEPT TO THE EXTENT THE MANDATORY PROVISIONS OF
        THE BANKRUPTCY CODE APPLY, THIS AGREEMENT SHALL BE GOVERNED BY,
        AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF TEXAS
        APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED ENTIRELY IN SUCH
        STATE WITHOUT REGARD TO PRINCIPLES OF CONFLICTS OR CHOICE OF LAWS OR
        ANY OTHER LAW THAT WOULD MAKE THE LAWS OF ANY OTHER JURISDICTION
        OTHER THAN THE STATE OF TEXAS APPLICABLE HERETO.

                        (b)    Without limitation of any Party’s right to appeal any Order of the
        Bankruptcy Court: (i) the Bankruptcy Court shall retain exclusive jurisdiction to enforce the
        terms of this Agreement and to decide any claims or disputes which may arise or result from, or
        be connected with, this Agreement, any breach or default hereunder, or the transactions
        contemplated hereby; and (ii) any and all claims relating to the foregoing shall be filed and
        maintained only in the Bankruptcy Court, and the Parties hereby consent and submit to the
        exclusive jurisdiction and venue of the Bankruptcy Court and irrevocably waive the defense of
        an inconvenient forum to the maintenance of any such action or proceeding; provided, however,
        that, if the Bankruptcy Case is closed, all actions and proceedings arising out of or relating to this
        Agreement shall be heard and determined in a Texas federal court sitting in Houston, Texas, and
        the Parties hereby irrevocably submit to the exclusive jurisdiction and venue of such courts in
        any such action or proceeding and irrevocably waive the defense of an inconvenient forum to the
        maintenance of any such action or proceeding. The Parties consent to service of process by mail
        (in accordance with Section 8.4) or any other manner permitted by legal requirement.

                     (h)  EACH PARTY HEREBY WAIVES, TO THE FULLEST EXTENT
        PERMITTED BY APPLICABLE LEGAL REQUIREMENTS, ANY RIGHT IT MAY HAVE
        TO A TRIAL BY JURY IN ANY PROCEEDING DIRECTLY OR INDIRECTLY ARISING
        OUT OF OR RELATING TO THIS AGREEMENT, THE OTHER TRANSACTION
        DOCUMENTS OR ANY OTHER AGREEMENT CONTEMPLATED HERETO AND
        THERETO OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY
        (WHETHER BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY
        (i) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
        PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER
        PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE
        FOREGOING WAIVER AND (ii) ACKNOWLEDGES THAT IT AND THE OTHER
        PARTIES HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG
        OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

                8.8    Waiver of Provisions. No action taken pursuant to this Agreement, including any
        investigation by or on behalf of any Party, shall be deemed to constitute a waiver by the Party
        taking such action of compliance with any representation, warranty, condition, covenant or
        agreement contained herein. The failure of any Party at any time or times to require performance
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        of any provision of this Agreement shall in no manner affect the right of such Party at a later date
        to enforce the same. No waiver by any Party of any condition or the breach of any provision,
        term, covenant, representation or warranty contained in this Agreement, whether by conduct or
        otherwise, in any one or more instances shall be deemed to be or construed as a further or
        continuing waiver of any such condition or of the breach of any other provision, term, covenant,
        representation or warranty of this Agreement.

                    8.9    Execution of Agreement; Counterparts; Electronic Signatures.

                        (a)     This Agreement and any amendment hereto may be executed in one or
        more counterparts and by different Parties in separate counterparts, each of which shall be
        deemed to be an original of this Agreement or such amendment and all of which, when taken
        together, shall constitute one and the same agreement. Delivery of an executed counterpart of a
        signature page to this Agreement or any amendment hereto by facsimile or other electronic
        means (including portable document format sent via email) shall be as effective as delivery of a
        manually executed counterpart of this Agreement or such amendment, as applicable.

                        (b)    The exchange of copies of this Agreement and of signature pages by
        facsimile transmissions (whether directly from one facsimile device to another by means of a
        dial-up connection or whether mediated by the worldwide web), by electronic mail in “portable
        document format” (aka “.pdf”) form, or by any other electronic means intended to preserve the
        original graphic and pictorial appearance of a document, or by combination of such means, shall
        constitute effective execution and delivery of this Agreement as to the Parties and may be used in
        lieu of the original Agreement for all purposes. Signatures of the Parties transmitted by facsimile
        shall be deemed to be their original signatures for all purposes.

                8.10 Entire Agreement. This Agreement, including the Schedules and Exhibits hereto
        (which are incorporated herein by reference), the Bill of Sale, the Assignment and Assumption
        Agreement, the Final Sale Order, collectively, the “Transaction Agreements”) constitute the
        entire agreement and understanding of the Parties with respect to the subject matter hereof and
        thereof and supersede, cancel, and replace any and all prior or contemporaneous agreements,
        understandings, and negotiations between the Parties and constitute a complete and exclusive
        statement of the terms of the agreement between and among the Parties with respect to the
        subject matter hereof.

              8.11 Schedules to the Agreement. True, complete, and accurate schedules to this
        Agreement shall be delivered to the Buyer at least three (3) Business Days prior to the Closing
        Date.

                8.12 Bulk Sales Laws. Each Party hereby waives compliance by the Parties with the
        “bulk sales,” “bulk transfers” and all other similar laws in all applicable jurisdiction in respect of
        the transactions contemplated by this Agreement.

                    8.13   Definitions; Construction.

                           (a)    As used herein, the following terms shall have the following meanings:


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                       “Affiliate” means, with respect to any specified Person, any other Person directly
        or indirectly controlling or controlled by or under the direct or indirect common control with
        such specified Person.

                       “Business Day” and “Business Days” mean any calendar day(s) except any
        Saturday, any Sunday, any day which is a federal legal holiday in the United States or any day on
        which banking institutions in the State of Texas are authorized or required by law or other
        governmental action to close.

                     “Contract” means any contract, lease, license, purchase order, indenture,
        agreement, commitment, or other contractual arrangement, whether oral or written, express or
        implied.

                       “Environmental Laws” means any federal, state, or local legal requirement
        relating to the prevention of pollution, remediation of contamination, protection of the
        environment and natural resources, and restoration of environmental quality, including the
        following federal statutes and the regulations promulgated thereunder: (i) the Comprehensive
        Environmental Response, Compensation and Liability Act of 1980; (ii) the Emergency Planning
        and Community Right-To-Know Act; (iii) the Resources Conservation and Recovery Act; (iv)
        the Clean Air Act; (v) the Clean Water Act; (vi) the Safe Drinking Water Act; (vii) the Oil
        Pollution Act; and (viii) the Toxic Substances Control Act, as each of the foregoing has been
        amended and in effect on the Closing Date.

                     “Executory Contract” means any executory Contract to which the Seller is a
        Party which constitutes an Assigned Contract hereunder, including, but not limited to, Final
        Customer Purchase Orders.

                       “Governmental Entity” means any domestic or foreign government or political
        subdivision thereof, whether on a federal, state or local level and whether executive, legislative
        or judicial in nature, including any agency, authority, board, bureau, commission, court,
        department or other instrumentality thereof.

                       “Hazardous Substance” means any material or substance which is defined as a
        “hazardous waste,” “hazardous substance,” “hazardous material,” “restricted hazardous waste,”
        “industrial waste,” “solid waste,” “contaminant,” “pollutant,” “toxic waste” or “toxic substance”
        or otherwise regulated under any Environmental Law or for which Liability can be imposed
        under any Environmental Law.

                          “Indebtedness” as applied to any Person, means without duplication: (i) all
        obligations of such Person for borrowed money or in respect of loans or advances; (ii) all
        obligations of such Person evidenced by bonds, debentures, notes or other similar instruments;
        (iii) all obligations in respect of letters of credit, whether or not drawn, and bankers’ acceptances
        issued for the account of such Person; (iv) all capitalized lease Liabilities of such Person; (v) all
        obligations for the costs or purchase prices of any of the Acquired Assets; (vi) any debt-like
        obligation or financing-type arrangement in respect of the deferred purchase price of the
        Acquired Assets; and (vii) any accrued interest, prepayment premiums or penalties or other costs
        or expenses related to any of the foregoing.

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                       “Knowledge,” “to the knowledge,” “known” or similar variations thereof shall
        mean, with respect to Seller, the knowledge of John Watson and the knowledge that Seller and
        John Watson could be expected to discover or otherwise become aware of in the course of
        conducting a reasonable investigation concerning the existence of the matters addressed.

                         “Liability” or “Liabilities,” as used in this Agreement, with respect to any
        Person or any property of such Person, includes any debt, liability, duty, responsibility,
        commitment, requirement to perform, or obligation of any such Person or any claim, expense,
        loss, damage or penalty as against such Person or for which such Person may have (or is alleged
        to have) liability, in each case of any kind or nature, whether or not due, known or unknown,
        fixed, accrued, unaccrued, or contingent, including Indebtedness.

                       “Person” means an individual, a corporation, a limited liability company, a
        partnership, a joint venture, a business association, a trust or any other entity or organization,
        including a Governmental Entity.

                     “Release” means any past or present spilling, leaking, pumping, pouring,
        emitting, emptying, discharging, injecting, escaping, leaching, dumping or disposing of a
        Hazardous Substance into the environment.

                       “Representative” when used with respect to any Person means any directors,
        officers, employees, stockholders, agents or representatives (including attorneys, accountants,
        consultants, banks and financial advisors) of such Person.

                        “Seller Material Adverse Effect” means any material adverse effect: (i) on the
        condition (financial or otherwise), Liabilities, properties, assets, or results of operations or
        prospects of the Business, taken as a whole; or (ii) on the ability of Seller to perform its
        obligations under or to consummate the transactions contemplated by this Agreement; provided,
        however, that the following shall not be considered in determining whether a Seller Material
        Adverse Effect has occurred: (A) any effect resulting from a change (1) in the economy, or
        financial, banking, currency or capital markets, in general (including, without limitation, changes
        in interest or exchange rates or commodities prices), or (2) the industry in which the Business
        operates, provided that any such affect does not disproportionately affect the Business as
        compared to other businesses in the industry; (B) any effect resulting from the announcement of
        this Agreement or the consummation of any of the transactions contemplated hereby; (C) any
        effect resulting from (1) any act of war, sabotage or terrorism, or any escalation or worsening of
        any such acts of war, sabotage or terrorism threatened or underway as of the date of this
        Agreement, or (2) hurricanes, tornados or other natural disasters; (D) any effect resulting from
        the taking of actions by Seller required by the terms of this Agreement; (E) the effect of any
        changes in applicable laws or accounting principles or standards; and (F) any failure to meet
        revenue or earnings projections (provided that any change or development causing any such
        failure to meet projections may be taken into account in determining whether a Seller Material
        Adverse Effect has occurred).

                        “Taxes” shall mean all federal, state, local and foreign taxes or similar charges,
        including all income, franchise, margin, real property, withholding, employment, sales, excise
        and transfer taxes and any interest and penalties thereon.

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                       “Third Party” means any Person other than any Party to this Agreement and any
        such Party’s officers, directors and Affiliates (as applicable).

                       (b)     The definitions in this Agreement shall apply equally to both the singular
        and plural forms of the terms defined. Whenever the context may require, any pronoun shall
        include the corresponding masculine, feminine and neuter forms. The words “include,”
        “includes” and “including” shall be deemed to be followed by the phrase “without limitation.”
        All references herein to Articles, Sections, Exhibits and Schedules shall be deemed references to
        Articles and Sections of, and Exhibits and Schedules to, this Agreement unless the context shall
        otherwise require. The words “hereof,” “herein” and “hereunder” and words of similar import
        when used in this Agreement shall refer to this Agreement as a whole and not any particular
        provision of this Agreement. The term “or” is not exclusive.

                8.14 No Third Party Beneficiaries. This Agreement is not intended to confer upon any
        Person other than the Parties hereto and their respective permitted successors and assigns any
        rights or remedies hereunder.

                                      [SIGNATURE PAGE FOLLOWS]

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                                                                                                                                               EXECUTION VERSION



                                                                            Schedule 1.1(a)(i)
                                                                               Inventory

                                                                                 INVENTORY
          All valve components located at 4512 Steffani Ln., Houston, Texas 77041, the storage building adjacent to 4512 Steffani Ln., Houston Texas 77041, 5008
          Steffani Ln., Houston Texas 77041 and 2910 McKinney, Houston, Texas.
                                                                                                                                                                   Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 51 of 79




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                                                                  Schedule 1.1(a)(ii)
                                                              Customer-Owned Property

                                      OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


             Customer     Work Order             Part #                        Description           Sales ($)     Work in Process ($)
              Name         Number
                         003709-002      SKF1378A-R            12-300 TI REPAIR                             .00                    6,252.64
                         101119          WV33RMMGG06-30        DISASSEMBLY ROUTER - STANDARD                .00                         .00
                         101121          WV33RMCGG06-11        DISASSEMBLY ROUTER - STANDARD                .00                         .00
                         101296          010-0010-015 A        BODY-ASY 17.00X18-300 316H             86,910.00                    8,610.00
                         101309          WV0203080GG           2-300 SEAT GASKET .030                       .00                         .00
                         101310          DIS01                 BUTTERFLY VALVE                              .00                    1,775.85
                         101312          WV020307XTG                                                        .00                       14.97
                         101316          G5024-SR3-R           ACTUATOR DIS & EVAL                          .00                         .00
                         WV2019-000                            WATSON VALVE QFR                             .00                         .00
          BARRICK GOLD   003614-001      WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT             40,855.00                    8,447.55
          BARRICK GOLD   003623-001      SKF1258A-R            8-150 DC ASY 316 CrC                   12,075.01                      840.31
          BARRICK GOLD   003624-001      SKF1258A-R            8-150 DC ASY 316 CrC                   12,075.01                   16,358.48
          BARRICK GOLD   003647-001      SKF1182A-R  A         1-300 DC ASY CD4 CrO LEVER O2           4,886.01                    8,607.41
          BARRICK GOLD   003683-001      WV23RFCGG01-01R A     2-300 WV ASY HDL F255 CrO O2            4,365.01                    1,444.79
          BARRICK GOLD   003690-002      WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT             49,090.00                      875.67
          BARRICK GOLD   003692-001      WV63RFCGG06-00R       6-300 WV ASSY F255 CrO ACT             10,575.01                    3,899.46
          BARRICK GOLD   003692-002      WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT             49,090.00                         .00
          BARRICK GOLD   003701-001      SKF1180A-R  A         6-300 DC ASY CD4 CrO GEAR OP           10,575.00                      787.35
          BARRICK GOLD   003723-001      WV23RFCGG06-01        2-300 WV ASSY F255 CrO BS O2           42,330.56                         .00
          BARRICK GOLD   003733-001      WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT             24,437.00                         .00
          BARRICK GOLD   003809-001      SKF1180A-R  A         6-300 DC ASY CD4 CrO GEAR OP           14,825.00                         .00
          NEWMONT        003488-001      SKF1390A-R  A         2-300 DC ASY CD4 CrO HDL O2             4,056.54                      116.30
          MINI
                                                                                                                                              Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 52 of 79




          NEWMONT        003702-001      SKF1390A-R       A    2-300 DC ASY CD4 CrO HDL O2             3,576.01                      219.51
          MINI



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                                      OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


             Customer     Work Order             Part #                        Description           Sales ($)     Work in Process ($)
              Name         Number
          NEWMONT        003702-002      SKF1384A-SPECR A      8-300 DC ASSY CD4 CrO ACT              13,796.01                    1,302.76
          MINI
          NEWMONT        003831-001      WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            2,552.00                            .00
          MINI
          NEWMONT        003831-002      WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            2,552.00                            .00
          MINI
          NEWMONT        003831-003      WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            3,554.00                            .00
          MINI
          NEWMONT        003833-001      WV13RFCGG01-01R       1-300 WV ASY F255 CrO HDL O2            4,887.00                            .00
          MINI
          CHEVRON PHIL   003643-001      CV33RWPVV00-12R       3X6X3 IVC VALVE MOD                     3,500.01                      773.01
          CHEVRON PHIL   003707-001      CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                      982.51
          CHEVRON PHIL   003708-001      CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                    1,107.79
          CHEVRON PHIL   003714-001      CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                    2,607.13
          FREEPORT       003728-001      WV66RUCGG06-00R       6-600 WV ASY Ti12 CrO BS               12,753.01                      451.39
          MCM
          FREEPORT       003738-001      VV0055-R     A        2-600 VV ASY Ti12 CrO BS                5,320.01                          49.54
          MCM
          FREEPORT       003738-002      VV0055-R     A        2-600 VV ASY Ti12 CrO BS                5,320.01                          44.22
          MCM
          MONSANTO-      003245-010      WV33RMMGG06-00        WV 3-300 Mon Act Mtg                          .00                     757.33
          LUL
          MONSANTO-      003641-001      MS33RQCGG06-23R A     3-300 MS ASY M400 K500 CrO              6,412.01                    8,345.34
          LUL
          MONSANTO-      003652-001      WV1442-0C09-R         3-300 WV ASYC276 CrO BS SP              6,412.01                    2,159.01
          LUL
          MONSANTO-      003659-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                      134.27
          LUL
          MONSANTO-      003660-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                      382.55
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          LUL
          MONSANTO-      003661-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                          21.30
          LUL


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                                     OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


             Customer    Work Order             Part #                        Description           Sales ($)     Work in Process ($)
              Name        Number
          MONSANTO-     003662-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                    7,060.80
          LUL
          MONSANTO-     003663-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                          .00
          LUL
          MONSANTO-     003699-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                      151.33
          LUL
          MONSANTO-     003715-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                    1,191.91
          LUL
          MONSANTO-     003716-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                    1,191.91
          LUL
          MONSANTO-     003729-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                      855.19
          LUL
          MONSANTO-     003730-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                      454.30
          LUL
          MONSANTO-     003732-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                      251.93
          LUL
          MONSANTO-     101300          MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H                  .00                   8,608.03
          LUL
          MONSANTO-     364201-000      WV1442-5M09-R         3-300 WV ASY M400 C276 CrO              6,412.01                    3,615.68
          LUL
          MONSANTO-     R03695-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00
          LUL
          MONSANTO-     R03696-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00
          LUL
          MONSANTO-     R03697-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00
          LUL
          MONSANTO-     R03698-001      MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00
          LUL
          AIV, L.P.     003617-001      KZ56R9WGG01-00        .5-600 KITZ ASY 410 CrO HDL            19,260.00                   21,733.06
          AIV, L.P.     003618-001      KZ56R9WGG01-00        .5-600 KITZ ASY 410 CrO HDL            12,840.00                   14,428.49
                                                                                                                                              Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 54 of 79




          AIV, L.P.     101304          SP0308-06             GLAND .5-600 KITZ 316                        .00                      499.58
          AIV, L.P.     101305          SP0310-01             BODY EXT .5-600 KITZ A105                    .00                      229.10


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                                      OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


             Customer     Work Order             Part #                        Description           Sales ($)     Work in Process ($)
              Name         Number
          WATSON         002850-002      WV26RWWGG01-00        2-600 CS Watson Cr/C Handle                   .00                    729.95
          VALVE
          BARRICK - PU   003678-002      SK0117   A            1.5-1500 WV ASY 2205 CrO O2            20,593.35                    3,168.88
          BARRICK - PU   003678-003      SK0117   A            1.5-1500 WV ASY 2205 CrO O2            20,593.35                    3,438.22
          BARRICK - PU   003705-001      MVA6RUMGG06-90R       10-600 MV ASY Ti12 CrO ACT REP         35,439.70                    1,648.55
          VALVESCOM      003694-001      WV73RHCGG06-03        .75-300 WV ASY 2507 CrO BS FRX         13,461.50                      689.58
          (B
          VALVESCOM      003694-002      WV23RHCGG06-03        2-300 WV ASY 2507 CrO BS FRX           39,060.20                    7,138.65
          (B
          VALVESCOM      003694-003      WV23RUCGG01-02 A      2-300 WV Ti12 CrO MBC2 HDL O2          20,820.20                    4,731.76
          (B
          LIHIR GOLD L   003703-001      SK0505                1-300 2507 WV SK0505 BA-34 O2          18,531.24                    1,700.55
          LIHIR GOLD L   003717-001      SK0484                .5-300 WV ASY 2507 CrO HDL O2          22,887.00                         .00
          LIHIR GOLD L   003717-002      SK0505                1-300 2507 WV SK0505 BA-34 O2          27,796.86                         .00
          LIHIR GOLD L   003718-001      SK0503   A            .75-300 WV ASY 2507 CrO LVR O2         54,757.02                    2,785.08
          LIHIR GOLD L   003750-001      WV23RHCGG06-00R       2-300 WV ASY 2507 CrO BS                     .00                         .00
          LIHIR GOLD L   003751-001      WV23RHCGG06-00R       2-300 WV ASY 2507 CrO BS                     .00                         .00
          WATSON         003644-026      WVYURKCGG06-27        DN150 PN40 WV 2507 A20 CrO O2          39,116.78                   15,304.20
          VALVE
          WATSON         003644-027      WVYURHCGG06-27        DN150-PN40 WV ASY 2507 CrO O2          41,100.00                    8,021.20
          VALVE
          WATSON         101289          MV83RFCGG06-00                                                      .00                         .00
          VALVE
          LIHIR GOLD L   101317          MV08031590G-02        B&S SET 8-300 MV 2507 CrO SC                 .00                     286.65
          PT. HUAYUE N   003489-001      W10C06-001001AD   A   W1 .75X0.75-600RF Ti12 TiO             29,344.00                   1,640.00
          PT. HUAYUE N   003489-002      W10C09-001001AD   A   W1 .75X0.75-900RF Ti12 TiO             61,808.00                        .00
          PT. HUAYUE N   003489-003      W10203-001001AD   C   W1 2.00X2-300RF Ti12 TiO              125,496.00                  38,947.14
          PT. HUAYUE N   003489-004      W10203-001001AD   C   W1 2.00X2-300RF Ti12 TiO              216,144.00                  47,283.55
          PT. HUAYUE N   003489-005      W10206-001001AD   B   W1 2.00X2-600RF Ti12 TiO BS           178,496.00                  54,701.03
                                                                                                                                               Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 55 of 79




          PT. HUAYUE N   003489-006      W10206-001001AD   B   W1 2.00X2-600RF Ti12 TiO BS           568,760.00                 194,813.67
          PT. HUAYUE N   003489-007      W10206-001001AD   B   W1 2.00X2-600RF Ti12 TiO BS            85,314.00                  28,082.29


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                                      OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


             Customer     Work Order             Part #                       Description              Sales ($)       Work in Process ($)
              Name         Number
          PT. HUAYUE N   003489-008      W10606-001001AD A     W1 6.00X6-600RF Ti12 TiO BS             547,424.00                           .00
          PT. HUAYUE N   003489-009      W21003-001001AD A     W2 10.00X10-300RF Ti12 TiO BS         1,649,072.00                      3,200.00
          PT. HUAYUE N   003489-010      W21403-001001AD B     W2 13.25X14-600RF Ti12 TiO BS           681,168.00                        400.00
          PT. HUAYUE N   101188          W10203-001001AD A     W1 2.00X2-300RF Ti12 TiO                       .00                      7,065.11
          PT. HUAYUE N   101307          010-0001-024AF C      BODY-ASY 2.00X2-300RF W1 Ti12                  .00                     73,755.86
          PT. HUAYUE N   101308          010-0007-024AF B      BODY-ASY 2.00X2-600RF W1 Ti12                  .00                     86,480.01
          MINERA         003600-001      W21803-001005 A       W2 17.00X18-300RF 316H CrC              427,982.00                           .00
          PEÑAS
          MINERA         003600-002      W21803-001005 A       W2 17.00X18-300RF 316H CrC             150,015.00                             .00
          PEÑAS


                                     OPEN CONTRACTS AND PURCHASE ORDERS INCURRED AFTER THE JANUARY 24 EXPLOSION
                         Purchase Order
            Customer                     Part Number          Description                           Sales Order Order Total ($)
                         Number
            BARRICK
           GOLDSTRIKE    1236250         WV33RFCGG01-00R       3-300 WV ASY F255 CrO HDL               0003785                        6,000.01
           MINES, INC.
            BARRICK
           GOLDSTRIKE    1236251         WV33RFCGG01-00R       3-300 WV ASY F255 CrO HDL               0003786                        6,000.01
           MINES, INC.
            BARRICK
           GOLDSTRIKE    1236252         WV33RFCGG01-00R       3-300 WV ASY F255 CrO HDL               0003787                        6,000.01
           MINES, INC.
            BARRICK
           GOLDSTRIKE    1236141         WV63RFCGG06-00R       6-300 WV ASSY F255 CrO ACT              0003788                       10,000.01
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778942/R       WV63RFCGG06-00R       6-300 WV ASSY F255 CrO ACT              0003789                       18,256.00
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           MINES, INC.




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                                     OPEN CONTRACTS AND PURCHASE ORDERS INCURRED AFTER THE JANUARY 24 EXPLOSION
                         Purchase Order
            Customer                     Part Number          Description                           Sales Order Order Total ($)
                         Number
            BARRICK
           GOLDSTRIKE    2778943/R      WV63RFCGG06-00R        6-300 WV ASSY F255 CrO ACT              0003790                    18,176.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778938/R      SKF1182A-R   A         1-300 DC ASY CD4 CrO LEVER O2           0003795                     3,246.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778937/R      SKF1182A-R   A         1-300 DC ASY CD4 CrO LEVER O2           0003796                     3,246.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778936/R      NV53RFCGG00-01R        .5-300 NV ASY F255 CrO BS O2            0003797                     3,246.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778935/R      NV53RFCGG00-01R        .5-300 NV ASY F255 CrO BS O2            0003798                     3,246.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    1235919        WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003799                     7,000.01
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778926/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003800                     5,962.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778927/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003801                     5,962.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778933/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003802                     5,823.00
           MINES, INC.
            BARRICK
           GOLDSTRIKE    2778932/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003803                     5,963.00
           MINES, INC.
            BARRICK
                                                                                                                                              Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 57 of 79




           GOLDSTRIKE    2778931/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003804                     6,563.00
           MINES, INC.



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                                     OPEN CONTRACTS AND PURCHASE ORDERS INCURRED AFTER THE JANUARY 24 EXPLOSION
                         Purchase Order
            Customer                     Part Number          Description                           Sales Order Order Total ($)
                         Number
            BARRICK
          GOLDSTRIKE     2778930/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003805                      6,563.00
           MINES, INC.
            BARRICK
          GOLDSTRIKE     2778934/R      WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003806                      5,963.00
           MINES, INC.
            BARRICK
          GOLDSTRIKE     1236149        SKF1258A-R             8-150 DC ASY 316 CrC                    0003811                     13,000.01
           MINES, INC.
            BARRICK
          GOLDSTRIKE     1235933        SKF1166A-R             10-300 DC ASY Ti3 CrO ACT               0003813                     17,000.01
           MINES, INC.
            BARRICK
          GOLDSTRIKE     2779977/S      WG0331-0K09            AGITATOR ASSY 8X8 Ti12 CrO              0003828                    161,500.00
           MINES, INC.
           NEWMONT
                         3002154876     WV23RFCGG01-01R A      2-300 WV ASY HDL F255 CrO O2            0003754                      2,974.02
          MINING CORP
           NEWMONT
                         3002155572     WV13RFCGG01-01R        1-300 WV ASY F255 CrO HDL O2            0003815                      3,380.01
          MINING CORP
            WATSON
             VALVE
                         002226         WV05031590K            .5-300 B&S SET WV Ti12 CrO-H            0003814                     10,820.00
           SERVICES-
             AUSTR
            WATSON
             VALVE
                         002263         WV03031590G            3-300 B&S SET WV 2507 CrO               0003816                      4,344.00
           SERVICES-
             AUSTR
            WATSON
             VALVE
                         002208         MV08031590G            B&S SET 8-300 MV 2507 CrO               0003817                     83,084.40
           SERVICES-
             AUSTR
                                                                                                                                               Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 58 of 79




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                                                                   Schedule 1.1(b)
                                                     Customer Prepayments and Covered Receivables

                                                         WATSON VALVE SERVICES – ACCOUNTS RECEIVABLE
                   Customer Name        Customer    SM   Telephone    Receivable    Current    30-60 Days     60-60 Days   Over 90 Days
                                        No.                           Balance       Amount
                   AIV, L.P.            600037      RB   713-462-4181 7,687.00                                             7,687.00
                   ASAP MACHINE, INC    600190                        2,706.96                                             2,706.96
                   BARRICK - PUEBLO     600053      RB                75,368.00                75,368.00
                   VIEJO (OBO)
                   BARRICK GOLDSTRIKE   002643      RB   775-778-8295   95,156.96    57,700.46                             37,456.50
                   MINES, INC.
                   FREEPORT MCMORAN     009843      RB   928-633-3233   19,405.78    19,405.78
                   COPPER & GOLD
                   LENZING FIBERS       600040      RB   251-679-2661   1,200.00                                           1,200.00
                   LIHIR GOLD LTD       600126      BW                  71,629.15                             71,629.15
                   NEWMONT MINING       008745      RB   775-778-4759   22,525.00    17,119.00    5,406.00
                   CORP
                   TECH/PRO HEAVY       600192           514-633-1231   45,933.34    45,933.34
                   INDUSTRIAL INC.
                   WATSON VALVE         WATSON      BW   61 (4) 1971    33,732.00    33,732.00
                   SERVICES-AUSTR       VALVE            7181
                                        SERVICES-        (Australia)
                                        AUSTR
                          GRAND TOTAL                                   375,344.19   173,890.58   80,774.00   71,629.15    49,050.46
                                                                                                                                          Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 59 of 79




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                                                                           Schedule 1.1(e)
                                                                 Equipment/Machines/Office Furniture

                                                                    Equipment/Machines/Office Furniture



                           Item #           Description of Equipment         Model or ID #   Acquisition Cost ($)   Mgt Est of Current Market Value ($)
                   45k down payment
                   (50% of the
                   purchase price of
                   this piece of
                   equipment is still
                   owed)                Test Stand - New                                         90,720.00                      90,720.00
                                        Cincinnati Python Lathe                CM0065            25,950.00                      19,462.50
                                        Used Blast Cabinet                                       11,570.00                        8,677.50
                                        Abrasive Blast Cabinet                                   50,685.00                      38,013.75
                                        Ratchet Wrenches & Attachments                           16,619.00                      12,464.25
                                        Colchester Lathe                                         10,553.00                        7,914.75
                                        Hydraulic Press                                           7,421.00                        5,565.75
                                        2013 F450                                                27,500.00                      20,625.00
                                        P500 Marking Machine                                      7,290.00                        5,467.50
                                        SIC Marking Machine                                       8,581.00                        6,435.75
                                        Monarch Lathe                                             3,002.00                        2,251.50
                                        Portable Hydraulic PU                                    10,561.00                        7,920.75
                                        Air Compressor                                            5,780.00                        4,335.00
                                                                            TOTAL:               276,232.00
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                                                          Schedule 1.1(f)
                   Intellectual Property – All of Seller’s Right, Title, and Interest In and To the Following:

                                                    Watson Valve Intellectual Property
                                                          All Drawings & Designs
                                                           Technical Information
                                                      All Valve Support Calculations
                                                                Trade Names
                                           Domain Names and Related Passwords and Account
                                                                  Numbers
                                                                   Slogans
                                                                    Logos
                                                            Social Media Assets
                                          E-Commerce Assets including all rights to the Debtor’s
                                                    website, http://watsonvalve.com/
                                                     All Data in Global Shop Solutions
                                             All Drawings & Designs produced with Autodesk
                                              All Drawings or other products produced with
                                                               SOLIDWORKS
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                              Schedule 1.1(g)
                   Licenses, Permits, and Authorizations
                                  (None)
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                                                               Schedule 1.1(h)
                                                              Assigned Contracts

                                       OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer    Work Order          Part #                       Description             Sales ($)     Work in Process ($)           Cure
            Name        Number                                                                                                            Amount ($)
                      003709-002    SKF1378A-R            12-300 TI REPAIR                            .00                    6,252.64           0.00
                      101119        WV33RMMGG06-30        DISASSEMBLY ROUTER - STANDARD               .00                         .00           0.00
                      101121        WV33RMCGG06-11        DISASSEMBLY ROUTER - STANDARD               .00                         .00           0.00
                      101296        010-0010-015 A        BODY-ASY 17.00X18-300 316H            86,910.00                    8,610.00           0.00
                      101309        WV0203080GG           2-300 SEAT GASKET .030                      .00                         .00           0.00
                      101310        DIS01                 BUTTERFLY VALVE                             .00                    1,775.85           0.00
                      101312        WV020307XTG                                                       .00                       14.97           0.00
                      101316        G5024-SR3-R           ACTUATOR DIS & EVAL                         .00                         .00           0.00
                      WV2019-000                          WATSON VALVE QFR                            .00                         .00           0.00
          BARRICK     003614-001    WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT            40,855.00                    8,447.55           0.00
          GOLD
          BARRICK     003623-001    SKF1258A-R            8-150 DC ASY 316 CrC                  12,075.01                      840.31           0.00
          GOLD
          BARRICK     003624-001    SKF1258A-R            8-150 DC ASY 316 CrC                  12,075.01                   16,358.48           0.00
          GOLD
          BARRICK     003647-001    SKF1182A-R      A     1-300 DC ASY CD4 CrO LEVER O2           4,886.01                   8,607.41           0.00
          GOLD
          BARRICK     003683-001    WV23RFCGG01-01R A     2-300 WV ASY HDL F255 CrO O2            4,365.01                   1,444.79           0.00
          GOLD
          BARRICK     003690-002    WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT            49,090.00                      875.67           0.00
          GOLD
          BARRICK     003692-001    WV63RFCGG06-00R       6-300 WV ASSY F255 CrO ACT            10,575.01                    3,899.46           0.00
          GOLD
          BARRICK     003692-002    WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT            49,090.00                           .00         0.00
          GOLD
          BARRICK     003701-001    SKF1180A-R      A     6-300 DC ASY CD4 CrO GEAR OP          10,575.00                      787.35           0.00
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          GOLD



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                                       OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer    Work Order          Part #                       Description             Sales ($)     Work in Process ($)           Cure
            Name        Number                                                                                                            Amount ($)
          BARRICK     003723-001    WV23RFCGG06-01        2-300 WV ASSY F255 CrO BS O2          42,330.56                           .00         0.00
          GOLD
          BARRICK     003733-001    WV63RFCGG06-00        6-300 WV ASSY F255 CrO ACT            24,437.00                           .00         0.00
          GOLD
          BARRICK     003809-001    SKF1180A-R      A     6-300 DC ASY CD4 CrO GEAR OP          14,825.00                           .00         0.00
          GOLD
          NEWMONT     003488-001    SKF1390A-R      A     2-300 DC ASY CD4 CrO HDL O2             4,056.54                     116.30           0.00
          MINI
          NEWMONT     003702-001    SKF1390A-R      A     2-300 DC ASY CD4 CrO HDL O2             3,576.01                     219.51           0.00
          MINI
          NEWMONT     003702-002    SKF1384A-SPECR A      8-300 DC ASSY CD4 CrO ACT             13,796.01                    1,302.76           0.00
          MINI
          NEWMONT     003831-001    WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            2,552.00                          .00         0.00
          MINI
          NEWMONT     003831-002    WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            2,552.00                          .00         0.00
          MINI
          NEWMONT     003831-003    WV53RUCGG01-01R       .5-300 WV TI12 CrO HDL O2 SV            3,554.00                          .00         0.00
          MINI
          NEWMONT     003833-001    WV13RFCGG01-01R       1-300 WV ASY F255 CrO HDL O2            48,87.00                          .00         0.00
          MINI
          CHEVRON     003643-001    CV33RWPVV00-12R       3X6X3 IVC VALVE MOD                     3,500.01                     773.01           0.00
          PHIL
          CHEVRON     003707-001    CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                     982.51           0.00
          PHIL
          CHEVRON     003708-001    CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                   1,107.79           0.00
          PHIL
          CHEVRON     003714-001    CV33RWPVV00-12R       LABOR - 3X6X3 IVC VALVE                 3,500.01                   2,607.13           0.00
          PHIL
          FREEPORT    003728-001    WV66RUCGG06-00R       6-600 WV ASY Ti12 CrO BS              12,753.01                      451.39           0.00
          MCM
                                                                                                                                                       Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 64 of 79




          FREEPORT    003738-001    VV0055-R     A        2-600 VV ASY Ti12 CrO BS                5,320.01                      49.54           0.00
          MCM


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                                       OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer    Work Order          Part #                       Description             Sales ($)     Work in Process ($)           Cure
            Name        Number                                                                                                            Amount ($)
          FREEPORT    003738-002    VV0055-R    A         2-600 VV ASY Ti12 CrO BS                5,320.01                      44.22           0.00
          MCM
          MONSANTO-   003245-010    WV33RMMGG06-00        WV 3-300 Mon Act Mtg                          .00                    757.33           0.00
          LUL
          MONSANTO-   003641-001    MS33RQCGG06-23R A     3-300 MS ASY M400 K500 CrO              6,412.01                   8,345.34           0.00
          LUL
          MONSANTO-   003652-001    WV1442-0C09-R         3-300 WV ASYC276 CrO BS SP              6,412.01                   2,159.01           0.00
          LUL
          MONSANTO-   003659-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                     134.27           0.00
          LUL
          MONSANTO-   003660-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                     382.55           0.00
          LUL
          MONSANTO-   003661-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                      21.30           0.00
          LUL
          MONSANTO-   003662-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                    7060.80           0.00
          LUL
          MONSANTO-   003663-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                          .00         0.00
          LUL
          MONSANTO-   003699-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                     151.33           0.00
          LUL
          MONSANTO-   003715-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                   1,191.91           0.00
          LUL
          MONSANTO-   003716-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            3,900.00                   1,191.91           0.00
          LUL
          MONSANTO-   003729-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                     855.19           0.00
          LUL
          MONSANTO-   003730-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                     454.30           0.00
          LUL
          MONSANTO-   003732-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                     251.93           0.00
          LUL
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          MONSANTO-   101300        MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H                  .00                  8,608.03           0.00
          LUL


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                                          OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer       Work Order            Part #                     Description             Sales ($)     Work in Process ($)           Cure
            Name           Number                                                                                                            Amount ($)
          MONSANTO-      364201-000    WV1442-5M09-R         3-300 WV ASY M400 C276 CrO              6,412.01                   3,615.68           0.00
          LUL
          MONSANTO-      R03695-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00         0.00
          LUL
          MONSANTO-      R03696-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00         0.00
          LUL
          MONSANTO-      R03697-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00         0.00
          LUL
          MONSANTO-      R03698-001    MS33RRCGG06-23R A     3-300 MS FBV M400 C276 CrO-H            6,412.01                          .00         0.00
          LUL
          AIV, L.P.      003617-001    KZ56R9WGG01-00        .5-600 KITZ ASY 410 CrO HDL           19,260.00                   21,733.06           0.00
          AIV, L.P.      003618-001    KZ56R9WGG01-00        .5-600 KITZ ASY 410 CrO HDL           12,840.00                   14,428.49           0.00
          AIV, L.P.      101304        SP0308-06             GLAND .5-600 KITZ 316                       .00                      499.58           0.00
          AIV, L.P.      101305        SP0310-01             BODY EXT .5-600 KITZ A105                   .00                      229.10           0.00
          WATSON         002850-002    WV26RWWGG01-00        2-600 CS Watson Cr/C Handle                 .00                      729.95           0.00
          VALVE
          BARRICK -      003678-002    SK0117      A         1.5-1500 WV ASY 2205 CrO O2           20,593.35                    3,168.88           0.00
          PU
          BARRICK -      003678-003    SK0117      A         1.5-1500 WV ASY 2205 CrO O2           20,593.35                    3,438.22           0.00
          PU
          BARRICK -      003705-001    MVA6RUMGG06-90R       10-600 MV ASY Ti12 CrO ACT REP        35,439.70                    1,648.55           0.00
          PU
          VALVESCOM      003694-001    WV73RHCGG06-03        .75-300 WV ASY 2507 CrO BS FRX        13,461.50                      689.58           0.00
          (B
          VALVESCOM      003694-002    WV23RHCGG06-03        2-300 WV ASY 2507 CrO BS FRX          39,060.20                    7,138.65           0.00
          (B
          VALVESCOM      003694-003    WV23RUCGG01-02 A      2-300 WV Ti12 CrO MBC2 HDL O2         20,820.20                    4,731.76           0.00
          (B
          LIHIR GOLD L   003703-001    SK0505                1-300 2507 WV SK0505 BA-34 O2         18,531.24                    1,700.55           0.00
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          LIHIR GOLD L   003717-001    SK0484                .5-300 WV ASY 2507 CrO HDL O2         22,887.00                         .00           0.00
          LIHIR GOLD L   003717-002    SK0505                1-300 2507 WV SK0505 BA-34 O2         27,796.86                         .00           0.00
          LIHIR GOLD L   003718-001    SK0503      A         .75-300 WV ASY 2507 CrO LVR O2        54,757.02                    2785.08            0.00

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                                         OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer       Work Order          Part #                      Description             Sales ($)     Work in Process ($)           Cure
            Name           Number                                                                                                           Amount ($)
          LIHIR GOLD L   003750-001    WV23RHCGG06-00R      2-300 WV ASY 2507 CrO BS                    .00                         .00           0.00
          LIHIR GOLD L   003751-001    WV23RHCGG06-00R      2-300 WV ASY 2507 CrO BS                    .00                         .00           0.00
          WATSON         003644-026    WVYURKCGG06-27       DN150 PN40 WV 2507 A20 CrO O2         39,116.78                   15,304.20           0.00
          VALVE
          WATSON         003644-027    WVYURHCGG06-27       DN150-PN40 WV ASY 2507 CrO O2         41,100.00                    8,021.20           0.00
          VALVE
          WATSON         101289        MV83RFCGG06-00                                                     .00                         .00         0.00
          VALVE
          LIHIR GOLD L   101317        MV08031590G-02       B&S SET 8-300 MV 2507 CrO SC                .00                      286.65           0.00
          PT. HUAYUE     003489-001    W10C06-001001AD A    W1 .75X0.75-600RF Ti12 TiO            29,344.00                    1,640.00           0.00
          N
          PT. HUAYUE     003489-002    W10C09-001001AD A    W1 .75X0.75-900RF Ti12 TiO            61,808.00                           .00         0.00
          N
          PT. HUAYUE     003489-003    W10203-001001AD C    W1 2.00X2-300RF Ti12 TiO             125,496.00                   38,947.14           0.00
          N
          PT. HUAYUE     003489-004    W10203-001001AD C    W1 2.00X2-300RF Ti12 TiO             216,144.00                   47,283.55           0.00
          N
          PT. HUAYUE     003489-005    W10206-001001AD B    W1 2.00X2-600RF Ti12 TiO BS          178,496.00                   54,701.03           0.00
          N
          PT. HUAYUE     003489-006    W10206-001001AD B    W1 2.00X2-600RF Ti12 TiO BS          568,760.00                  194,813.67           0.00
          N
          PT. HUAYUE     003489-007    W10206-001001AD B    W1 2.00X2-600RF Ti12 TiO BS           85,314.00                   28,082.29           0.00
          N
          PT. HUAYUE     003489-008    W10606-001001AD A    W1 6.00X6-600RF Ti12 TiO BS          547,424.00                           .00         0.00
          N
          PT. HUAYUE     003489-009    W21003-001001AD A    W2 10.00X10-300RF Ti12 TiO BS       1,649,072.00                   3,200.00           0.00
          N
          PT. HUAYUE     003489-010    W21403-001001AD B    W2 13.25X14-600RF Ti12 TiO BS        681,168.00                      400.00           0.00
          N
                                                                                                                                                         Case 20-30968 Document 242 Filed in TXSB on 06/25/20 Page 67 of 79




          PT. HUAYUE     101188        W10203-001001AD A    W1 2.00X2-300RF Ti12 TiO                      .00                  7,065.11           0.00
          N



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                                             OPEN CONTRACTS AND PURCHASE ORDERS INCURED BEFORE THE JANUARY 24 EXPLOSION


           Customer       Work Order                Part #                         Description                 Sales ($)           Work in Process ($)           Cure
            Name           Number                                                                                                                              Amount ($)
          PT. HUAYUE     101307           010-0001-024AF C            BODY-ASY 2.00X2-300RF W1 Ti12                     .00                      73,755.86           0.00
          N
          PT. HUAYUE     101308           010-0007-024AF B            BODY-ASY 2.00X2-600RF W1 Ti12                     .00                      86,480.01           0.00
          N
          MINERA         003600-001       W21803-001005 A             W2 17.00X18-300RF 316H CrC              427,982.00                                 .00         0.00
          PEÑAS
          MINERA         003600-002       W21803-001005 A             W2 17.00X18-300RF 316H CrC              150,015.00                                 .00         0.00
          PEÑAS
          Procurement Contract No: MOR-203-009-0 of Severe Service Ball Valve for HUAYOU Indonesian Laterite-Nickel Ore Project between PT. Huayue Nickel
          Cobalt and Seller, dated April 25, 2019.



                                         OPEN CONTRACTS AND PURCHASE ORDERS INCURED AFTER THE JANUARY 24 EXPLOSION
                   Customer           Customer PO            Part #            Description           Sales      Order            Location       Cure Amount
                                                                                                    Order     Total ($)                              ($)
          BARRICK GOLDSTRIKE      1236250             WV33RFCGG01-        3-300 WV ASY F255        0003785   6,000.01         Curtiss-Wright    0.00
          MINES, INC.                                 00R                 CrO HDL
          BARRICK GOLDSTRIKE      1236251             WV33RFCGG01-        3-300 WV ASY F255        0003786   6,000.01         Curtiss-Wright    0.00
          MINES, INC.                                 00R                 CrO HDL
          BARRICK GOLDSTRIKE      1236252             WV33RFCGG01-        3-300 WV ASY F255        0003787   6,000.01         Curtiss-Wright    0.00
          MINES, INC.                                 00R                 CrO HDL
          BARRICK GOLDSTRIKE      1236141             WV63RFCGG06-        6-300 WV ASSY F255       0003788   10,000.01        Curtiss-Wright    0.00
          MINES, INC.                                 00R                 CrO ACT
          BARRICK GOLDSTRIKE      2778942/R           WV63RFCGG06-        6-300 WV ASSY F255       0003789   18,256.00        5008 Steffani     0.00
          MINES, INC.                                 00R                 CrO ACT
          BARRICK GOLDSTRIKE      2778943/R           WV63RFCGG06-        6-300 WV ASSY F255       0003790   18,176.00        5008 Steffani     0.00
          MINES, INC.                                 00R                 CrO ACT
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          BARRICK GOLDSTRIKE      2778939/R           WV53RFCGG01-        .5-300 WV ASY F255       0003791   4,355.00         5008 Steffani     0.00
          MINES, INC.                                 01R A               CrO O2 HDL


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                                  OPEN CONTRACTS AND PURCHASE ORDERS INCURED AFTER THE JANUARY 24 EXPLOSION
                   Customer    Customer PO       Part #           Description       Sales       Order         Location     Cure Amount
                                                                                   Order      Total ($)                         ($)
          BARRICK GOLDSTRIKE   2778940/R     WV53RFCGG01-    .5-300 WV ASY F255   0003792    4,355.00     5008 Steffani    0.00
          MINES, INC.                        01R A           CrO O2 HDL
          BARRICK GOLDSTRIKE                 WV53RFCGG01-    .5-300 WV ASY F255   0003793    3,000.01     5008 Steffani    0.00
          MINES, INC.                        01R A           CrO O2 HDL
          BARRICK GOLDSTRIKE                 WV53RFCGG01-    .5-300 WV ASY F255   0003794    3,000.01     5008 Steffani    0.00
          MINES, INC.                        01R A           CrO O2 HDL
          BARRICK GOLDSTRIKE   2778938/R     SKF1182A-R      1-300 DC ASY CD4     0003795    3,246.00     5008 Steffani    0.00
          MINES, INC.                        A               CrO LEVER O2
          BARRICK GOLDSTRIKE   2778937/R     SKF1182A-R      1-300 DC ASY CD4     0003796    3,246.00     Curtiss-Wright   0.00
          MINES, INC.                        A               CrO LEVER O2
          BARRICK GOLDSTRIKE   2778936/R     NV53RFCGG00-    .5-300 NV ASY F255   0003797    3,246.00     M-Tech           0.00
          MINES, INC.                        01R             CrO BS O2
          BARRICK GOLDSTRIKE   2778935/R     NV53RFCGG00-    .5-300 NV ASY F255   0003798    3,246.00     5008 Steffani    0.00
          MINES, INC.                        01R             CrO BS O2
          BARRICK GOLDSTRIKE   1235919       WV23RFCGG01-    2-300 WV ASY HDL     0003799    7,000.01     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778926/R     WV23RFCGG01-    2-300 WV ASY HDL     0003800    5,962.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778927/R     WV23RFCGG01-    2-300 WV ASY HDL     0003801    5,962.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778933/R     WV23RFCGG01-    2-300 WV ASY HDL     0003802    5,823.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778932/R     WV23RFCGG01-    2-300 WV ASY HDL     0003803    5,963.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778931/R     WV23RFCGG01-    2-300 WV ASY HDL     0003804    6,563.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
          BARRICK GOLDSTRIKE   2778930/R     WV23RFCGG01-    2-300 WV ASY HDL     0003805    6,563.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2
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          BARRICK GOLDSTRIKE   2778934/R     WV23RFCGG01-    2-300 WV ASY HDL     0003806    5,963.00     5008 Steffani    0.00
          MINES, INC.                        01R A           F255 CrO O2


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                                  OPEN CONTRACTS AND PURCHASE ORDERS INCURED AFTER THE JANUARY 24 EXPLOSION
                   Customer    Customer PO       Part #           Description         Sales     Order         Location       Cure Amount
                                                                                     Order     Total ($)                          ($)
          BARRICK GOLDSTRIKE   1236149       SKF1258A-R      8-150 DC ASY 316       0003811   13,000.01    Curtiss-Wright    0.00
          MINES, INC.                                        CrC
          BARRICK GOLDSTRIKE   1235933       SKF1166A-R      10-300 DC ASY Ti3      0003813   17,000.01    5008 Steffani     0.00
          MINES, INC.                                        CrO ACT
          BARRICK GOLDSTRIKE   2779977/S     WG0331-0K09     AGITATOR ASSY 8X8      0003828   161,500.00   Blades at         0.00
          MINES, INC.                                        Ti12 CrO                                      Tricor/Discs at
                                                                                                           Curtiss-Wright
          WATSON VALVE         002226        WV05031590K     .5-300 B&S SET WV      0003814   10,820.00                      0.00
          SERVICES-AUSTR                                     Ti12 CrO-H
          WATSON VALVE         002263        WV03031590G     3-300 B&S SET WV       0003816   4,344.00                       0.00
          SERVICES-AUSTR                                     2507 CrO
          WATSON VALVE         002208        MV08031590G     B&S SET 8-300 MV       0003817   83,084.40                      0.00
          SERVICES-AUSTR                                     2507 CrO
          NEWMONT MINING       3002183558    SKF1198A-R      .5-300 DC ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                                               HDL O2
          NEWMONT MINING       3002183558    WV53RUCGG01-    .5-300 WV ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                               01R             HDL O2
          NEWMONT MINING       3002183558    WV53RUCGG01-    .5-300 WV ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                               01R             HDL O2
          NEWMONT MINING       3002183558    WV53RUCGG01-    .5-300 WV ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                               01R             HDL O2
          NEWMONT MINING       3002183558    WV53RUCGG01-    .5-300 WV ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                               01R             HDL O2
          NEWMONT MINING       3002183558    WV53RUCGG01-    .5-300 WV ASY TI CrO             7,730.90     5008 Steffani     0.00
          CORP                               01R             HDL O2
          NEWMONT MINING       3002201716    WV23RFCGG01-    2-300 WV ASY F255                6,380.66     5008 Steffani     0.00
          CORP                               01R             CrO HDL O2
          NEWMONT MINING       3002181626    SK0406-0F09     8-300 WV ASY F255                17,263.00    Curtiss-Wright    0.00
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          CORP                                               CrO BS
          NEWMONT MINING       3002181626    WV13RFCGG01-    1-300 WV ASY F255                4,887.00     Curtiss-Wright    0.00
          CORP                               01R             CrO HDL O1

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                                   OPEN CONTRACTS AND PURCHASE ORDERS INCURED AFTER THE JANUARY 24 EXPLOSION
                   Customer    Customer PO         Part #          Description       Sales       Order         Location     Cure Amount
                                                                                     Order     Total ($)                         ($)
          NEWMONT MINING       3002212368      WV23RUCGG01-   2-300 WV ASY F255               6,380.66     Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O2
          NEWMONT MINING       3002183618      WV23RFCGG01-   2-300 WV ASY F255               6,380.66     Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O2
          NEWMONT MINING       Waiting on PO   WV13RFCGG01-   1-300 WV ASY F255                            Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O1
          NEWMONT MINING       3002177172      WV53RUCGG01-   5-300 WV ASY F255               2,552.00     Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O5
          NEWMONT MINING       3002177172      WV53RUCGG01-   5-300 WV ASY F255               2,552.00     Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O5
          NEWMONT MINING       3002177172      WV53RUCGG01-   5-300 WV ASY F255               3,554.00     Curtiss-Wright   0.00
          CORP                                 01R            CrO HDL O5
          NEWMONT MINING       3002172887      SKF1378A-R     12-300 DC ASY TI CrO            36,012.00    5008 Steffani    0.00
          CORP
          BARRICK GOLDSTRIKE   2778941/R       SKF1180A-R     6-300 DC ASY CD4                20,389.00    Curtiss-Wright   0.00
          MINES, INC.                                         CrO
          BARRICK GOLDSTRIKE   2778934/R       WV23RFCGG01-   2-300 WV ASY F255               5,963.00     5008 Steffani    0.00
          MINES, INC.                          01R            CrO HDL O2
          BARRICK - PUEBLO     Waiting on PO   SK0117-R       1.5-1500 WV ASY                              5008 Steffani    0.00
          VIEJO (OBO)                                         31803 CrO
          BARRICK - PUEBLO     Waiting on PO   SK0117-R       1.5-1500 WV ASY                              5008 Steffani    0.00
          VIEJO (OBO)                                         31803 CrO
          BARRICK - PUEBLO     Waiting on PO   SK0117-R       1.5-1500 WV ASY                              5008 Steffani    0.00
          VIEJO (OBO)                                         31803 CrO
          BARRICK - PUEBLO     Waiting on PO   SP00179-R      8-600 OMB ASY 316                            5008 Steffani    0.00
          VIEJO (OBO)                                         CrC O2
          BARRICK - PUEBLO     Waiting on PO   SP00179-R      8-600 OMB ASY 316                            5008 Steffani    0.00
          VIEJO (OBO)                                         CrC O2
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          NEWMONT MINING       3002177167      WV23RFCGG01-   2-300 WV ASY F255               5,632.00     5008 Steffani    0.00
          CORP                                 01R            CrO HDL O2


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                                        OPEN CONTRACTS AND PURCHASE ORDERS INCURED AFTER THE JANUARY 24 EXPLOSION
                   Customer          Customer PO             Part #              Description          Sales        Order              Location   Cure Amount
                                                                                                      Order       Total ($)                           ($)
          NEWMONT MINING             3002215025         SKF1378A-R           12-300 DC ASY TI CrO                36,012.20      5008 Steffani    0.00
          CORP



                                                    List of Quotes Given to Third Parties, but no Purchase Order Has Been Generated
          Customer Name               Description                 Quantity        Sales                       Estimated       Cure Amount ($)
                                                                                                              Cost
          Watson Valve - Australia    4" B/S Set                  6               $33,732.00                  $20,239.20                                       0.00
          Valvescom - East Grove      4" Assembly                 1               $10,306.23                  $6,183.74                                        0.00
          Freeport McMoran            3" Assembly                 1               $10,874.13                  $6,524.48                                        0.00
          Barrick Goldstrike          6" Assembly                 1               $17,403.00                  $10,441.80                                       0.00
          Newmont                     10" @ 12" Valve             1 Each          $63,244.00                  $37,946.40                                       0.00
          Newmont                     2" Valve                    2               $11,384.00                  $6,830.40                                        0.00
          Newmont                     2" Valve                    1               $6,380.00                   $3,828.00                                        0.00
          Newmont                     2" Valve                    1               $6,380.00                   $3,828.00                                        0.00
          Newmont                     2" Valve                    1               $6,380.00                   $3,828.00                                        0.00
          Newmont                     .5" Valve                   3               $8,658.00                   $5,194.80                                        0.00
          Newmont                     .5" Valve                   6               $35,000.00                  $21,000.00                                       0.00
          Newmont                     Blade Assembly              1               $35,000.00                  $21,000.00                                       0.00
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                                                                                Software Licenses
                                                      License                                                  Cure Amount ($)
                                         Autodesk (AutoCad and Inventor)1                                            0.00
                                              Global Shop Solutions2                                                 0.00
                                                  SOLIDWORKS3                                                        0.00




        1
            The Autodesk account is in the name of Watson Grinding. Buyer assumes the risk that the Autodesk license may be assigned.

        2
            The Global Shop Solutions account is in the name of Watson Grinding. Buyer assumes the risk that the Global Shop Solutions license may be assigned.
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        3
            The SOLIDWORKS account is in the name of Seller. Buyer assumes the risk that the SOLIDWORKS license may be assigned.


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                                                                          Schedule 1.1(h)(iii)4
                                                                  Final Vendor Purchase Orders

                                                   Final Vendor Purchase Orders to Vendors Holding Watson Valve’s WIP
                                     Vendor                                       Status                          Amount Owed (Cure Amount ($))
                   Curtiss-Wright                            $36,343.00                                       Current Open Invoices
                   Curtiss-Wright                           $102,000.00                                         Backlog yet to be Picked up until open
                                                                                                                invoices are paid
                   Tricor                                    $29,327.00                                         Backlog Ready for Pickup - COD
                   ASAP                                      $10,020.00                                         Current Open Invoices
                   M-Tech Machine                            $2,000.00                                          Backlog - COD
                   AIV                                       $6,387.00                                          Current Open Invoices
                   AIV                                       $15,000.00                                         Backlog yet to be Picked up until open
                                                                                                                invoices are paid

                    SPECIFIED FINAL VENDOR PURCHASE ORDERS WITH RESPECT TO THE HUAYOU INDONESIAN LATERITE-NICKEL ORE PROJECT BETWEEN
                                                 PT. HUAYUE NICKEL COBALT AND SELLER, DATED APRIL 25, 2019
                                  Vendor                Purchase Order Number    Date Order Placed       Amount Owed (Cure Amount ($))
                            AMERICAN HELI-ARC                    5508               1/17/2020              $              10,240.00
                                      EGC                                5432                 12/5/2019                $                  2,403.00
                                      EGC                                5451                12/17/2019                $                  4,228.09
                                DIRECT BOLT                              5472                  1/7/2020                $                  3,470.67
                                    KPC METAL                            5405                11/15/2019                 $               13,300.00
                                    KPC METAL                            5413                11/20/2019                $                  5,968.00


                                           Outstanding Orders Between Watson Valve and Watson Grinding for the Huayou Project
                   Customer Name         Work Order          Part #                 Description              Material & Outside           Labor &
                                                                                                             Service                      Overhead
                   WATSON VALVE          030333-003          B10-0007-024AF A       2"-600 BODY                           60388.00              1196.14
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        4
         Note to Watson: Mogas has deleted the Purchase Orders on Schedule 1.2(k) based on discussions with counsel for the Trustee that these constitute
        Executory Contracts.

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                                     Outstanding Orders Between Watson Valve and Watson Grinding for the Huayou Project
                   Customer Name   Work Order          Part #                 Description              Material & Outside       Labor &
                                                                                                       Service                  Overhead
                   WATSON VALVE    030393-001          B10-0003-024AF A       .75-600 BODY                             756.00           121.62
                   WATSON VALVE    030393-002          020-0003-024AF A       75-600 END PIECE                         960.00            64.54
                   WATSON VALVE    030393-003          060-0003-022AF A       .75-900 STEM                              84.00              .00
                   WATSON VALVE    030393-005          100-0003-02213 A       THRS. 0.63ID, 125CS Ti5                   22.00              .00
                                                                              TiO-H
                   WATSON VALVE    030393-006          120-0004-022 A         AE-RING 0.63ID, 125CS                     15.00             .00
                   WATSON VALVE    030393-008          170-0002-024 A         .75-600/900BTM-PLT                       238.00          498.95
                   WATSON VALVE    030394-001          B11-0009-024AF         14" BODY                                    .00          162.00
                   WATSON VALVE    030394-002          021-0009-024AF         14" END PIECE                               .00          325.77
                   WATSON VALVE    030394-003          022-0009-024AF         14" END PIECE                               .00             .00
                   WATSON VALVE    030394-005          060-0005-022AF A       14" STEM                               6596.00          3397.75
                   WATSON VALVE    030394-006          070-0005-014 A         14"-300 GLAND                          1560.00              .00
                                                                              FLANGE
                   WATSON VALVE    030394-009          100-0005-02213 A       14" THRUST BEARING                       905.00          601.13
                   WATSON VALVE    030394-011          130-0006-028AG A       14" BUSH UP                            2968.00            19.52
                   WATSON VALVE    030395-001          B10-0004-024AF A       10" BODY                                    .00         1347.42
                   WATSON VALVE    030395-002          020-0004-024AF A       10" END PIECE                               .00          924.04
                   WATSON VALVE    030395-003          060-0004-022AF A       10" STEM                              24208.00           376.64
                   WATSON VALVE    030395-004          070-0004-014 A         GLAND FLG                              3728.00          1118.96
                   WATSON VALVE    030395-005          082-0004-022           10" LOCK-RING                               .00             .00
                   WATSON VALVE    030395-006          083-0005-024           10" LOCK-PLATE                              .00             .00
                   WATSON VALVE    030395-007          100-0004-02213 A       THRS 3.25ID                            1625.00          1188.17
                   WATSON VALVE    030395-009          130-0005-028AG A       BUSH-UP                                4784.00              .00
                   WATSON VALVE    030396-001          B10-0008-024AF A       6" BODY                               17931.00              .00
                   WATSON VALVE    030396-002          020-0008-024AF A       6" END PIECE                          29416.00          1885.92
                   WATSON VALVE    030396-003          060-0006-022AF A       6" STEM                                2928.00           642.81
                   WATSON VALVE    030396-004          070-0007-014 A         6" GLAND GLANGE                        1416.00           297.93
                   WATSON VALVE    030396-005          100-0006-02213 A       THRS 2.500ID                             815.00             .00
                   WATSON VALVE    030396-006          120-0007-022 A         6" AE-RING                               710.00             .00
                   WATSON VALVE    030396-007          130-0007-028AG A       6" BUSH-UP                             1520.00              .00
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                   WATSON VALVE    030397-001          B10-0006-024AF A       .75-900 BODY                           2260.00           141.64
                   WATSON VALVE    030397-002          020-0006-024AF A       .75-900 END PIECE                      2120.00            56.36


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                                     Outstanding Orders Between Watson Valve and Watson Grinding for the Huayou Project
                   Customer Name   Work Order          Part #                 Description              Material & Outside       Labor &
                                                                                                       Service                  Overhead
                   WATSON VALVE    030397-003          060-0003-022AF A       .75-900 STEM                             168.00            .00
                   WATSON VALVE    030397-004          070-0003-014 A         .75-600/900 GLAND                         60.00         655.48
                                                                              FLANGE
                   WATSON VALVE    030397-005          100-0003-02213 A       THRS. 0.63ID, 125CS Ti5                   44.00              .00
                                                                              TiO-H
                   WATSON VALVE    030397-006          120-0004-022 A         AE-RING 0.63ID, 125CS                     22.00              .00
                   WATSON VALVE    030397-007          130-0004-028AG A       .75-600/900 UPPER                         95.00              .00
                                                                              BEARING
                   WATSON VALVE    030397-008          170-0002-024 A         .75-600/900BTM-PLT                       414.00          97.87
                   WATSON VALVE    031085-001          010-0007-024AF         BODY-ASY 2.00X2-                            .00        6892.75
                                                                              600RF
                   WATSON VALVE    033341-000          030-0001-02413AE A     B&S 2.00-300/600 W1                         .00            .00
                   WATSON VALVE    033341-001          040-0001-02413AE A     2" 300/600 BALL                       21690.00        27350.21
                   WATSON VALVE    033341-002          050-0001-02413AE A     2"-300/600 SEAT                        3420.00        16860.64
                   WATSON VALVE    039309-000          030-0009-02413AE A     B&S .75-600 W1                              .00            .00
                   WATSON VALVE    039309-001          040-0010-02413AE       .75-600 BALL                             370.00         969.12
                   WATSON VALVE    039309-002          050-0008-02413AE       .75-600 SEAT                           1178.00          609.15
                   WATSON VALVE    039404-000          030-0005-02413AE A     B&S 13.25-300 W2                            .00            .00
                   WATSON VALVE    039404-001          040-0005-02413AE       14" BALL                              39184.00         4294.17
                   WATSON VALVE    039404-002          050-0006-02413AE       14" SEAT                              10408.00           93.35
                   WATSON VALVE    039510-000          030-0003-02413AE A     B&S 10.00-300 W2                            .00            .00
                   WATSON VALVE    039510-001          040-0004-02413AE       10" BALL                             109480.00         5354.01
                   WATSON VALVE    039510-002          050-0005-02413AE       10" SEAT                              24242.00         4961.18
                   WATSON VALVE    039608-000          030-0007-02413AE A     B&S 6.00-600 W1                             .00            .00
                   WATSON VALVE    039608-001          040-0006-02413AE A     6" BALL                               10160.00         7042.03
                   WATSON VALVE    039608-002          050-0007-02413AE A     6" SEAT                                7584.00         4329.35
                   WATSON VALVE    039709-000          030-0006-02413AE A     B&S .75-900 W1                              .00            .00
                   WATSON VALVE    039709-001          040-0011-02413AE       .75-900 BALL                             380.00         877.71
                   WATSON VALVE    039709-002          050-0010-02413AE       .75-900 SEAT                           1178.00         1025.20
                   WATSON VALVE    046303-002          050-0001-02405AE       2" SEAT                                   90.00          95.84
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                   WATSON VALVE    046309-000          300-0001-013           BRKT WELD ASY                               .00            .00
                   WATSON VALVE    046309-001          320-0001               TOP PLATE                                   .00            .00


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                                     Outstanding Orders Between Watson Valve and Watson Grinding for the Huayou Project
                   Customer Name   Work Order          Part #                 Description              Material & Outside       Labor &
                                                                                                       Service                  Overhead
                   WATSON VALVE    046309-002          310-0001               BRACKET LEG                                 .00               .00

                                                       Total China Project WIP                         398,120.00               95,875.37
                                                       in Watson Grinding
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                                                                      Schedule 1.2(k)


                   SPECIFIED FINAL VENDOR PURCHASE ORDERS WITH RESPECT TO THE HUAYOU INDONESIAN LATERITE-NICKEL ORE PROJECT BETWEEN
                                                PT. HUAYUE NICKEL COBALT AND SELLER, DATED APRIL 25, 2019
                                 Vendor                Purchase Order Number    Date Order Placed       Amount Owed (Cure Amount ($))
                               SCORE VALVE                      5473                1/7/2020              $             184,330.00
                            SUHM SPRINGS                       5492                 1/13/2020            $                 53,032.10
                            SUHM SPRINGS                       5471                     1/7/2020         $                 94,668.00
                            SUHM SPRINGS                       5450                 12/16/2019           $                 31,264.00
                          East Grove - Acuators                5099                 6/19/2019            $                184,000.00


                                                                Equipment Purchase Orders
                                              Party                          Equipment                  Cure Amount ($)
                        Dunns Valve Tester                                 New Test Stand                  45,360.00
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                                                  Schedule 2.4(a)
                   Pre-Closing Transactions / Indebtedness Outside Ordinary Course of Business

                                                     (None)
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